MANDATE
   Case 1:21-cv-04954-WFK-RER Document 22 Filed 12/03/21 Page 1 of 58 PageID #: 215




                           UNITED STATES COURT OF APPEALS
                                      FOR THE
                                   SECOND CIRCUIT

             At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
     Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
     4th day of November, two thousand twenty-one.

     Before:     John M. Walker, Jr.,
                 Robert D. Sack,
                 Susan L. Carney,
                        Circuit Judges.
     ____________________________________

      We The Patriots USA, Inc., Diane Bono,       JUDGMENT
      Michelle Melendez, Michelle
      Synakowski,                                  Docket No. 21-2179

                   Plaintiffs-Appellants,

      v.

      Kathleen Hochul, Howard A. Zucker,
      M.D.,

                Defendants-Appellees.
     ________________________________________

             The appeal in the above captioned case from a judgment of the United States District
     Court for the Eastern District of New York was argued on the district court’s record and the
     parties’ briefs. Upon consideration thereof,

             IT IS HEREBY ORDERED, ADJUDGED and DECREED that order of the district court
     is AFFIRMED and the case remanded for further proceedings consistent with the Order entered by
     this Court on October 29, 2021 and the Court’s Opinion issued on November 4, 2021.

                                                         For the Court:

                                                         Catherine O’Hagan Wolfe,
                                                         Clerk of Court




MANDATE ISSUED ON 12/03/2021
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  21-2179; 21-2566
  We The Patriots USA, Inc. v. Hochul; Dr. A. v. Hochul



                                                    In the
                        United States Court of Appeals
                                     For the Second Circuit
                                              ______________

                                             August Term, 2021

                  (Argued: October 27, 2021                  Decided: November 4, 2021)

                                             Docket No. 21-2179
                                              ______________

                 WE THE PATRIOTS USA, INC., DIANE BONO, MICHELLE MELENDEZ,
                                  MICHELLE SYNAKOWSKI,

                                                                          Plaintiffs-Appellants,

                                                      –v.–

                            KATHLEEN HOCHUL, HOWARD A. ZUCKER, M.D.,

                                                                          Defendants-Appellees.
                                      ___________________________

                                             Docket No. 21-2566
                                              ______________

                  DR. A., NURSE A., DR. C., NURSE D., DR. F., DR. G., THERAPIST I.,
            DR. J., NURSE J., DR. M., NURSE N., DR. O., DR. P., TECHNOLOGIST P., DR. S.,
                                  NURSE S., PHYSICIAN LIAISON X.,

                                                                          Plaintiffs-Appellees,

                                                      –v.–

            KATHY HOCHUL, GOVERNOR OF THE STATE OF NEW YORK, IN HER OFFICIAL
           CAPACITY, DR. HOWARD A. ZUCKER, COMMISSIONER OF THE NEW YORK STATE
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               DEPARTMENT OF HEALTH, IN HIS OFFICIAL CAPACITY, LETITIA JAMES,
            ATTORNEY GENERAL OF THE STATE OF NEW YORK, IN HER OFFICIAL CAPACITY,

                                                                  Defendants-Appellants.

  B e f o r e:

                          WALKER, SACK, and CARNEY, Circuit Judges.
                                     ______________

         In these two cases on appeal, district courts in New York State considered
  applications for preliminary injunctive relief that would restrain the State from
  enforcing its emergency rule requiring healthcare facilities to ensure that certain
  employees are vaccinated against COVID-19. See 10 N.Y.C.R.R. § 2.61 (Aug. 26, 2021)
  (“Section 2.61”). The State issued Section 2.61 in response to rapidly increasing infection
  rates related to the Delta variant of the virus. Section 2.61 contains an exemption for
  employees who are unable to be safely vaccinated due to pre-existing medical
  conditions, but does not contain an exemption for those who object to this vaccination
  on religious grounds. Plaintiffs, individual healthcare workers who object to receiving
  the vaccine because of their religious beliefs, as well as a membership organization,
  filed complaints and motions for preliminary injunctive relief, asserting that Section
  2.61 violates their rights under the First Amendment, the Fourteenth Amendment, and
  the Supremacy Clause. In We The Patriots, filed in the U.S. District Court for the Eastern
  District of New York, the district court (Kuntz, J.) denied the motion without opinion. In
  Dr. A., filed in the U.S. District Court for the Northern District of New York, the district
  court (Hurd, J.) granted the motion, deciding that Plaintiffs had established that Section
  2.61 was likely neither neutral towards religion nor generally applicable, triggering
  strict scrutiny under the First Amendment’s Free Exercise Clause, and that the State had
  failed to establish that Section 2.61 was likely narrowly tailored to serve a compelling
  government interest under strict scrutiny review. The district court in Dr. A. also
  concluded that Section 2.61 was likely preempted by Title VII’s protection for
  employees who require religious accommodations, and thus ran afoul of the Supremacy
  Clause.

         On appeal, focusing on the requirements for the grant of a preliminary
  injunction, we conclude that Plaintiffs in both cases have failed to establish a likelihood



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  of success on any of their claims, and thus the Dr. A. district court’s issuance of a
  preliminary injunction was in error. As to Plaintiffs’ Free Exercise claims, we conclude
  that Plaintiffs have not shown that they are likely to succeed in establishing (1) that
  Section 2.61 is not a neutral law of general applicability, or (2) that—in the resulting
  inquiry—Section 2.61 does not satisfy rational basis review. Next, we determine that
  Plaintiffs have not demonstrated a likelihood of success on their Supremacy Clause
  claim: it appears to us fully possible for employers to comply with both Section 2.61 and
  Title VII. Finally, we decide that Plaintiffs are not likely to succeed on their claims that
  Section 2.61 contravenes the Fourteenth Amendment. The order of the U.S. District
  Court for the Eastern District of New York is therefore AFFIRMED, the order of the U.S.
  District Court for the Northern District of New York is REVERSED, and the preliminary
  injunction entered by that court is VACATED. These tandem cases are REMANDED to
  their respective district courts for further proceedings consistent with the Order entered
  by this Court on October 29, 2021, and this Opinion.

                                         ______________



                               CAMERON L. ATKINSON (Norman A. Pattis, Earl A. Voss, on
                                    the brief), Pattis & Smith, LLC, New Haven, CT, for
                                    Plaintiffs-Appellants We The Patriots USA, Inc. et al. (in
                                    No. 21-2179).

                               STEVEN C. WU, Deputy Solicitor General (Barbara D.
                                     Underwood, Mark S. Grube, on the brief) for Letitia
                                     James, Attorney General for the State of New York,
                                     New York, NY, for Defendants-Appellants (in No. 21-
                                     2566) and Defendants-Appellees (in No. 21-2179) Kathleen
                                     Hochul et al.

                               CHRISTOPHER A. FERRARA (Michael McHale, Stephen M.
                                     Crampton, on the brief), Thomas More Society,
                                     Chicago, IL, for Plaintiffs-Appellees Dr. A. et al. (in No.
                                     21-2566).

                               Alex J. Luchenister, Richard B. Katskee, Americans United
                                      for Separation of Church and State, Washington, D.C.;
                                      Daniel Mach, Heather L. Weaver, Lindsey Kaley,



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                                    American Civil Liberties Union Foundation,
                                    Washington, D.C. & New York, NY; Christopher
                                    Dunn, Beth Haroules, Arthur Eisenberg, Amy Belsher,
                                    New York Civil Liberties Union Foundation, New
                                    York, NY, for Amici Curiae (in No. 21-2179) Americans
                                    United for Separation of Church and State, American Civil
                                    Liberties Union, New York Civil Liberties Union, Central
                                    Conference of American Rabbis, Global Justice Institute,
                                    Metropolitan Community Churches, Men of Reform
                                    Judaism, Methodist Federation for Social Action, Muslim
                                    Advocates, National Council of Jewish Women,
                                    Reconstructionist Rabbinical Association, Union for
                                    Reform Judaism, and Women of Reform Judaism.

                             Mark D. Harris, Shiloh Rainwater, Proskauer Rose LLP, New
                                  York, NY, for Amicus Curiae (in No. 21-2179) Greater
                                  New York Hospital Association.
                                     ______________

  PER CURIAM:

        In these two cases on appeal, which we consider in tandem, federal district

  courts in New York State considered applications for preliminary injunctive relief that

  would restrain the State from enforcing its emergency rule requiring healthcare facilities

  to ensure that certain employees are vaccinated against COVID-19. See 10 N.Y.C.R.R.

  § 2.61 (Aug. 26, 2021) (“Prevention of COVID-19 transmission by covered entities”)

  (“Section 2.61” or “the Rule”). The State issued the Rule in response to rapidly

  increasing infection rates related to the Delta variant of the SARS-CoV-2 virus, a virus

  that has caused widespread suffering in the State, country, and world since early 2020.

  The State described the Rule’s purpose as primarily to preserve the health of healthcare

  workers, and from that narrow purpose, more broadly, to keep patients and the public

  safe from COVID-19. The Rule establishes a medical exemption to the vaccination

  requirement, but—consistent with New York’s prior vaccination requirements for




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  healthcare workers—does not include an exemption based on religious belief. The Rule

  permits, but does not require, employers to make other accommodations for individuals

  who choose not to be vaccinated based on their sincere religious beliefs.

         The moving parties—primarily healthcare workers allegedly affected by the

  Rule—challenge the Rule’s omission of a religious exemption by asserting claims under

  the First Amendment, the Supremacy Clause, and the Fourteenth Amendment. Both

  groups of Plaintiffs moved to enjoin enforcement of the Rule. One district court granted

  the preliminary relief requested, enjoining the Rule insofar as it prevented healthcare

  workers from being eligible for an exemption based on religious belief; the other denied

  it. See Dr. A. v. Hochul, No. 21-cv-1009, 2021 WL 4734404 (N.D.N.Y. Oct. 12, 2021)

  (granting preliminary injunction) (“Dr. A.”); We The Patriots USA, Inc. v. Hochul, No. 21-

  cv-4954 (E.D.N.Y. Sept. 12, 2021) (denying preliminary injunction) (“We The Patriots” or

  “WTP”).

         The individual plaintiffs in Dr. A. are nurses, doctors, and other personnel

  employed by healthcare facilities in New York State; in We The Patriots, they are three

  nurses similarly employed and a related nonprofit organization. All individual

  plaintiffs aver that to receive any one of the three currently available vaccines against

  COVID-19 (Pfizer-BioNTech, Moderna, and Johnson & Johnson) would violate their

  religious beliefs because those vaccines were developed or produced using cell lines

  derived from cells obtained from voluntarily aborted fetuses. They assert that their

  employers have threatened them with adverse employment consequences if they refuse

  to be vaccinated.

         Plaintiffs argue, and the district court in Dr. A. held, that they are likely to

  succeed in establishing that Section 2.61 violates their rights under the Free Exercise

  Clause of the First Amendment and under the Supremacy Clause. As to the Free

  Exercise Clause, Plaintiffs submit that because the State has afforded a medical




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  exemption to its requirement, the Free Exercise Clause requires the State also to afford a

  religious exemption. With respect to the Supremacy Clause, the Dr. A. Plaintiffs argue

  that the non-discrimination obligations placed on employers by Title VII of the Civil

  Rights Act of 1964, 42 U.S.C. §§ 2000e et seq. (“Title VII”) preempt the State’s vaccination

  Rule. As a third basis for relief, the WTP Plaintiffs allege that the Rule infringes their

  rights to privacy and bodily integrity under the Fourteenth Amendment. Under the

  familiar standards for a preliminary injunction that Plaintiffs must meet to obtain such

  relief, Plaintiffs allege that, in addition to showing a likelihood of success on the merits,

  they will suffer irreparable harm absent immediate relief and that the balance of the

  equities and the public interest lie in their favor.

         The State resists, contending primarily that Section 2.61 is a neutral provision of

  general applicability to those covered by the Rule; that the Rule serves its goal and

  compelling need to preserve the health of healthcare workers; that the medical and

  religious exemptions would not be comparable for purposes of the Free Exercise Clause

  analysis required by Employment Division, Department of Human Resources of Oregon v.

  Smith, 494 U.S. 872 (1990), and its progeny; and that Plaintiffs have not shown a

  likelihood of success on the merits on any of their claims or otherwise satisfied the

  prerequisites for entry of the exceptional relief of a preliminary injunction at this phase

  of the litigation.

         Following oral argument, on October 29, 2021, this Court entered an Order

  disposing of the appeals and advising that an Opinion would follow. This Opinion

  explains the basis for that Order.

         As to Plaintiffs’ Free Exercise claim, we conclude that Plaintiffs have not met

  their burden to show that they are likely to succeed in establishing (1) that Section 2.61

  is not a neutral law of general applicability under Smith, or (2) that—in the resulting

  inquiry—Section 2.61 does not satisfy rational basis review. Next, we determine that




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  Plaintiffs have not demonstrated a likelihood of success on their Supremacy Clause

  claim on the record before us, as Plaintiffs have not shown that it would likely be

  impossible for employers to comply with both Section 2.61 and Title VII. Finally, we

  decide that Plaintiffs are not likely to succeed on their claim that the Rule contravenes

  the Fourteenth Amendment.

         In light of these conclusions and of our further assessment of the irreparability of

  the harm Plaintiffs allege, the balance of the hardships, and the public interest in

  enforcing or not enforcing the Rule, we AFFIRM the order of the United States District

  Court for the Eastern District of New York denying the motion for a preliminary

  injunction in We The Patriots; and we REVERSE the order of the United States District

  Court for the Northern District of New York granting Plaintiffs’ motion for the same

  relief in Dr. A. and VACATE the related preliminary injunction entered by that court.

  Finally, we REMAND both cases to their respective district courts for further

  proceedings consistent with our October 29, 2021 Order, and this Opinion. We stress

  that we do not now decide the ultimate merits of Plaintiffs’ legal claims or of the State’s

  defenses; rather, we make a limited determination with respect to preliminary relief

  based on the limited factual record presently before this Court.


                                      BACKGROUND

  I.     New York’s Emergency Rule

         On August 26, 2021, New York’s Department of Health adopted an emergency

  rule directing hospitals, nursing homes, hospices, adult care facilities, and other

  identified healthcare entities to “continuously require” certain of their employees to be

  fully vaccinated against COVID-19 beginning on September 27, 2021, for “general

  hospitals” and nursing homes, and on October 7, 2021, for all other “covered entities” as




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  defined in the Rule. 10 N.Y.C.R.R. § 2.61. 1 The vaccine requirement applies not to all

  employees, but only to those covered by the Rule’s definition of “personnel”: those

  employees, staff members, and volunteers “who engage in activities such that if they

  were infected with COVID-19, they could potentially expose other covered personnel,

  patients or residents to the disease.” Id. § 2.61(a)(2).

            The Rule was issued by the State’s Public Health and Health Planning Council, a

  group of 25 healthcare professionals, including the Commissioner of Health, that state

  law charges with issuing regulations “affecting the security of life or health or the

  preservation and improvement of public health,” including those addressing the control

  of communicable diseases. N.Y. Pub. Health L. § 225(4), (5).

            As required by New York law, the notice of emergency rulemaking included the

  Council’s findings and a Regulatory Impact Statement (the “Statement”). See NYS

  Admin. Proc. Act § 202(6). The Statement explained that the Rule responded to the

  “significant public health threat” caused by the increasing circulation of the Delta

  variant: “Since early July, cases have risen 10-fold, and 95 percent of the sequenced

  recent positives in New York State were the Delta variant.” Dr. A. Sp. App’x at 39. It

  also referenced data purporting to show “that unvaccinated individuals are

  approximately 5 times as likely to be diagnosed with COVID-19 compared to

  vaccinated individuals” and that “[t]hose who are unvaccinated have over 11 times the

  risk of being hospitalized with COVID-19.” Id. It described vaccination as critical to

  controlling the spread of the disease at healthcare facilities and in congregate care

  settings, which “pose increased challenges and urgency for controlling the spread of

  this disease because of [their] vulnerable patient and resident populations,”

  determining that “[u]nvaccinated personnel in such settings have an unacceptably high



  1   The complete text of Section 2.61 is provided in an Appendix to this Opinion.



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  risk of both acquiring COVID-19 and transmitting the virus to colleagues and/or

  vulnerable patients or residents, exacerbating staffing shortages, and causing

  unacceptably high risk of complications.” Id. As an emergency rule, Section 2.61 is in

  effect for a maximum of 90 days, expiring on November 23, 2021, unless renewed. See

  id. at 38; NYS Admin. Proc. Act § 202(6)(b).

            Section 2.61 exempts from the vaccination requirement “personnel” for whom

  “immunization with COVID-19 vaccine is detrimental to [their] health . . . , based upon

  a pre-existing health condition” as more specifically defined and limited by the Rule. 10

  N.Y.C.R.R. § 2.61(d)(1). 2 The medical exemption applies “only until such immunization

  is found no longer to be detrimental to [their] health.” Id. It must be supported with a

  certification by a licensed physician or certified nurse practitioner issued in accordance



  2   The full text of this medical exemption under Section 2.61(d)(1) reads as follows:

               (1) Medical exemption. If any licensed physician or certified nurse
               practitioner certifies that immunization with COVID-19 vaccine is
               detrimental to the health of member of a covered entity’s personnel, based
               upon a pre-existing health condition, the requirements of this section relating
               to COVID-19 immunization shall be inapplicable only until such
               immunization is found no longer to be detrimental to such personnel
               member’s health. The nature and duration of the medical exemption must be
               stated in the personnel employment medical record, or other appropriate
               record, and must be in accordance with generally accepted medical
               standards, (see, for example, the recommendations of the Advisory
               Committee on Immunization Practices of the U.S. Department of Health and
               Human Services), and any reasonable accommodation may be granted and
               must likewise be documented in such record. Covered entities shall
               document medical exemptions in personnel records or other appropriate
               records in accordance with applicable privacy laws by: (i) September 27, 2021
               for general hospitals and nursing homes; and (ii) October 7, 2021 for all other
               covered entities. For all covered entities, documentation must occur
               continuously, as needed, following the initial dates for compliance specified
               herein, including documentation of any reasonable accommodation therefor.

  10 N.Y.C.R.R. § 2.61(d)(1).



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  with generally accepted medical standards, including recommendations of the

  Advisory Committee on Immunization Practices (“ACIP”) of the U.S. Department of

  Health and Human Services. Id.; see also N.Y. State Department of Health, Frequently

  Asked Questions (FAQs) Regarding the August 26, 2021 – Prevention of COVID-19

  Transmission by Covered Entities Emergency Regulation, https://coronavirus.health.ny.gov/

  system/files/documents/2021/09/faqs-for-10-nycrr-section-2.61-9-20-21.pdf (last visited

  November 2, 2021) (“FAQs”). Section 2.61 contains no “exemption” for personnel who

  oppose vaccination on religious or any other grounds not covered by the medical

  exemption; however, as we discuss below, the Rule does not prohibit employers from

  providing religious objectors with accommodations.

        On August 18, 2021, eight days before the Council promulgated Section 2.61, New

  York State Commissioner of Health Dr. Howard A. Zucker, acting alone, had issued an

  “Order for Summary Action” (“the August 18 Order” or “the Order”) under the

  authority vested in him by New York Public Health Law § 16. See Dr. A. Sp. App’x at

  41–47. Section 16 permits the Commissioner to issue a short-term order—effective for a

  maximum of 15 days—if he identifies a condition that in his view constitutes a “danger

  to the health of the people.” N.Y. Pub. Health Law § 16. After making findings about

  the dangers of COVID-19, the Order similarly required certain healthcare facilities to

  ensure that certain personnel were fully vaccinated against COVID-19 by September 27,

  2021, but differed from Section 2.61, which superseded it, in several respects. Most

  relevant here, the Order included a religious exemption for personnel who “hold a

  genuine and sincere religious belief contrary to the practice of immunization.” Dr. A.

  Sp. App’x at 45–46. In addition, the Order could be effective for only a very brief period

  of time—for up to 15 days—whereas the Rule could be in effect for up to 90 days,

  subject to extensions. Further, the Order applied only to “general hospital[s]” and

  nursing homes; Section 2.61 applies more broadly, to all hospitals, nursing homes,




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  diagnostic and treatment centers, home healthcare agencies and similar programs,

  hospices, and adult care facilities. Id. at 43; 10 N.Y.C.R.R. § 2.61(a)(1).

         In affidavits appended to its briefing to this Court and filed in other pending

  proceedings, 3 the State has provided preliminary vaccination data from the months of

  August through October 2021. It reflects a significant increase in vaccination rates

  among covered healthcare personnel that occurred after the Rule’s effective date on

  September 27 (even though the Rule was subject to the temporary restraining order and

  later injunction issued in Dr. A.). As of August 24, the State’s declarant reported, 71% of

  workers at nursing homes and 77% of workers at adult care facilities had received at

  least one dose of the vaccine; 77% of workers at hospitals were fully vaccinated. See

  WTP Appellees’ Add. at 14–15 (Decl. of Elizabeth Rausch-Phung). As of October 19,

  97.4% of workers at nursing homes and 96.7% of workers at adult care facilities had

  received at least one dose of the vaccine, and 91.4% of workers at hospitals were fully

  vaccinated. See Serafin v. New York State Dep’t of Health, Index No. 908296-21, Doc. Nos.

  56. (Decl. of Valerie A. Deetz), 57 (Decl. of Dorothy Persico) (Sup. Ct. Albany County

  Oct. 20, 2021). Also as of October 19, between 0.4% and 0.5% of workers at each facility




  3 We may take judicial notice of the existence of affidavits filed in another court. See Glob.
  Network Commc'ns, Inc. v. City of New York, 458 F.3d 150, 157 (2d Cir. 2006). In addition, our
  Court has ruled that courts may consider hearsay evidence such as affidavits when determining
  whether to grant a preliminary injunction. See Mullins v. City of New York, 626 F.3d 47, 52 (2d
  Cir. 2010); see also Univ. of Tex. v. Camenisch, 451 U.S. 390, 395 (1981) (observing that preliminary
  injunctive determinations may be based on “procedures that are less formal and evidence that is
  less complete than in a trial on the merits”). Thus, we consider the State’s data submitted in
  affidavits filed in other courts. Although this data was not before the district court in WTP—and
  therefore Plaintiffs have not had an opportunity to contest its accuracy before the district
  court—they have not raised such a concern in their reply brief in WTP or at oral argument, nor
  have they challenged this Court’s ability to consider the State’s submissions. More broadly,
  Plaintiffs do not appear to contest the State’s assertion derived from this data that religious
  exemptions are more common than medical exemptions, but instead consider this fact
  irrelevant.



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  type were medically ineligible to receive the COVID-19 vaccine, whereas 1.9% of

  workers at nursing homes and adult care facilities and 1.3% of workers at hospitals

  claimed “other” exemptions, which the State describes as reflecting religious

  exemptions permitted by the injunction entered in Dr. A. Id.


  II.    The District Court Proceedings

         Plaintiffs in We The Patriots are a membership organization and three nurses

  working in hospital facilities in New York State. 4 Plaintiffs in Dr. A. are nurses, doctors,

  and others employed at healthcare facilities in New York State. In both cases, the

  defendants include Governor Kathleen Hochul and Commissioner Zucker; the Dr. A.

  Plaintiffs also named New York Attorney General Letitia James as a defendant.

         All Plaintiffs assert that they object on religious grounds to receiving the COVID-

  19 vaccines as briefly described above. As public health authorities have explained, in

  the 1970s and 1980s, cell lines were derived from fetal cells obtained from elective

  abortions or miscarriages. 5 These cell lines have since been used in the development of

  various vaccines. 6 They were used for testing in the research and development phase of




  4 Plaintiff We The Patriots USA, Inc., states that it is a section 501(c)(3) organization that “is
  dedicated to promoting constitutional rights and other freedoms through education, outreach,
  and public interest litigation, thereby advancing religious freedom, medical freedom, parental
  rights, and educational freedom for all.” WTP App’x at 8.

  5 See, e.g., Los Angeles County Dep’t of Pub. Health, COVID-19 Vaccine and Fetal Cell Lines (Apr.
  20, 2021), http://publichealth.lacounty.gov/media/coronavirus/docs/vaccine/
  VaccineDevelopment_FetalCellLines.pdf; Michigan Dep’t of Health & Human Servs., COVID-19
  Vaccines & Fetal Cells (Apr. 21, 2021), https://www.michigan.gov/documents/coronavirus/
  COVID-19_Vaccines_and_Fetal_Cells_031921_720415_7.pdf; North Dakota Dep’t of Health,
  COVID-19 Vaccines & Fetal Cell Lines (Apr. 20, 2021), https://www.health.nd.gov/sites/www/
  files/documents/COVID%20Vaccine%20Page/COVID-19_Vaccine_Fetal_Cell_Handout.pdf.

  6These cell lines “have been used to create vaccines for diseases such as hepatitis A, rubella, and
  rabies. Abortions from which fetal cells were obtained were elective and were not done for the



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  the mRNA (Pfizer-BioNTech and Moderna) COVID-19 vaccines and in the production

  of the Johnson & Johnson COVID-19 vaccine. 7 Plaintiffs assert that, in these

  circumstances, receiving any of the three available COVID-19 vaccines would conflict

  with their deeply held religious beliefs.

         A.      We The Patriots USA, Inc. v. Hochul

         In We The Patriots, the three individual plaintiffs are registered nurses. Diane

  Bono and Michelle Melendez are employed at Syosset Hospital in Syosset, and Michelle

  Synakowski is employed at St. Joseph’s Hospital in Syracuse. On September 2, 2021, one

  week after the Rule was adopted, Plaintiffs sued Governor Hochul and Commissioner

  Zucker in the United States District Court for the Eastern District of New York, alleging

  that the Rule violates their First Amendment right to exercise their religion freely. They

  also charged that it violates their rights to privacy and “medical freedom,” which they

  locate in the First, Fourth, Fifth, and Fourteenth Amendments. They asked the district




  purpose of vaccine development.” Los Angeles County Dep’t of Pub. Health, COVID-19 Vaccine
  and Fetal Cell Lines, supra note 5.

  7 The use of these cell lines was explained in press statements and publicly available research
  during the development of the COVID-19 vaccines. See Press Release, Johnson & Johnson,
  Johnson & Johnson Announces a Lead Vaccine Candidate for COVID-19; Landmark New
  Partnership with U.S. Department of Health & Human Services; and Commitment to Supply
  One Billion Vaccines Worldwide for Emergency Pandemic Use (Mar. 30, 2020),
  https://www.jnj.com/johnson-johnson-announces-a-lead-vaccine-candidate-for-covid-19-
  landmark-new-partnership-with-u-s-department-of-health-human-services-and-commitment-
  to-supply-one-billion-vaccines-worldwide-for-emergency-pandemic-use (describing use of
  PER.C6 cell line in Johnson & Johnson vaccine); Annette B. Vogel et al., A Prefusion SARS-Cov-2
  Spike RNA Vaccine Is Highly Immunogenic and Prevents Lung Infection in Non-human Primates,
  bioRxiv (Sept. 8, 2020), https://doi.org/10.1101/2020.09.08.280818 (referencing use of HEK293 cell
  line in early testing stages of Pfizer-BioNTech vaccine); Kizzmekia S. Corbett et al., SARS-CoV-2
  mRNA Vaccine Design Enabled by Prototype Pathogen Preparedness, 586 Nature 567, 572 (Oct. 22,
  2020), https://doi.org/10.1038/s41586-020-2622-0 (referencing use of HEK293 cell line in testing of
  Moderna vaccine).



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  court to declare Section 2.61 unconstitutional and permanently enjoin the State from

  enforcing it.

            Ten days later, the WTP Plaintiffs moved for a temporary restraining order and a

  preliminary injunction immediately enjoining the State from enforcing the Rule. They

  argued that immediate relief was essential because Section 2.61 puts them at imminent

  risk of losing their jobs if they persist in refusing vaccination. In support of their motion,

  they provided letters from Nurse Bono’s and Nurse Melendez’s employer, Northwell

  Health, a private entity. 8 In the letter received by Nurse Bono, dated August 31,

  Northwell Health advised that her “continued employment will be at risk” if she did

  not receive the vaccine by the deadline. WTP App’x 32. In its letter to Nurse Melendez,

  dated August 30, Northwell Health wrote only that Nurse Melendez would be required

  to undergo weekly PCR testing and would be unable to participate in certain meetings,

  gatherings, and events based on her vaccination status. 9

            The district court denied Plaintiffs’ motion on September 12, the day it was filed,

  without explanation and without ordering or receiving a response from the State.

  Plaintiffs timely appealed.

            B.     Dr. A. v. Hochul

            In Dr. A., 17 medical professionals who work in New York sued Governor

  Hochul, Commissioner Zucker, and Attorney General James on September 13 in the

  United States District Court for the Northern District of New York, seeking declaratory



  8   They did not name Northwell Health as a defendant or seek relief against it.

  9In their brief on appeal, the WTP Plaintiffs state that Northwell Health terminated Nurse
  Bono’s employment on September 29. The WTP Plaintiffs also assert that Nurse Synakowski
  was informed by her employer that her employment would be terminated by September 21 if
  she was not vaccinated by then, but in their briefs filed since that date they have not stated
  whether that came to pass.



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  and injunctive relief preventing the enforcement of the Rule. 10 In their verified

  complaint, they alleged three bases of unconstitutionality. First, they contended that the

  Rule infringes on religious rights secured by the Free Exercise Clause by requiring that

  they be vaccinated, contrary to their religious beliefs. Second, they claimed that Section

  2.61 violates the Supremacy Clause because it is preempted by Title VII, which prohibits

  discrimination in employment based on religion. Third, they claimed that Section 2.61

  runs afoul of the Equal Protection Clause because it prevents them from seeking a

  religious accommodation while at the same time allowing similarly situated healthcare

  workers to seek a medical accommodation.

         The Dr. A. Plaintiffs simultaneously moved for a temporary restraining order

  and preliminary injunction. They sought immediate injunctive relief, citing “imminent

  irreparable harm from loss of employment and professional standing” as a result of

  their “religiously motivated refusal to be vaccinated.” Dr. A. App’x at 207.

         On September 14, the district court granted Plaintiffs’ motion for a temporary

  restraining order, enjoining the State from enforcing any requirement that employers

  deny religious exemptions from the vaccine requirement or that employers revoke any

  religious exemption already granted, and directed the State to file its opposition to

  Plaintiffs’ request for a preliminary injunction. Six days later, the district court extended

  the temporary restraining order for 14 days, pending its written opinion on Plaintiffs’

  request for a preliminary injunction to be issued on or before October 12.

         On October 12, the district court issued the requested preliminary injunction,

  resting in part on its determination that Plaintiffs were likely to succeed on their Free

  Exercise claim. The district court concluded that Plaintiffs had established that Section




   The district court granted a request by the Dr. A. Plaintiffs to proceed pseudonymously. The
  10

  Dr. A. Plaintiffs do not identify their employers in their complaint.



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  2.61 is neither a neutral law nor one of general applicability. It also ruled that Section

  2.61 is likely to fail strict scrutiny. See Dr. A., 2021 WL 4734404, at *8–9. The district court

  further concluded that Plaintiffs were likely to succeed on their Title VII preemption

  claim, reasoning that Section 2.61 “effectively foreclose[s] the pathway to seek[] a

  religious accommodation that is guaranteed under Title VII.” Id. at *6. 11

         The State timely appealed. 12


                                           DISCUSSION

         Issuance of a preliminary injunction is an “extraordinary and drastic remedy”

  that is “never awarded as of right.” Munaf v. Geren, 553 U.S. 674, 689–90 (2008) (quoting

  11A C. Wright, A. Miller, & M. Kane, Federal Practice and Procedure § 2948, at 129 (2d

  ed. 1995)). Preliminary injunctive relief “should not be routinely granted.” Hanson Tr.

  PLC v. SCM Corp., 774 F.2d 47, 60 (2d Cir. 1985) (quoting Medical Soc. of State of N.Y. v.




  11The district court declined to consider the merits of Plaintiffs’ Equal Protection claim.
  Plaintiffs do not pursue this claim on appeal.

  12Having lost before the district court in the Eastern District on September 12—before the Dr. A.
  court entered its temporary restraining order (on September 14) or its preliminary injunction
  (on October 12)—the WTP Plaintiffs successfully sought interim relief from the September 28
  motions panel in this Court. Motion Order, WTP, No. 21-2179, Dkt. No. 65 (Sept. 30, 2021). Oral
  argument on their appeal from the denial of a preliminary injunction was scheduled to be heard
  on an expedited basis on October 14 by a duly convened regular argument panel—the panel
  that now files this opinion per curiam. Case Calendaring, WTP, No. 21-2179, Dkt. No. 68. When
  the district court in the Northern District granted the Dr. A. Plaintiffs’ request for a preliminary
  injunction on October 12, the State promptly appealed. Notice of Appeal, Dr. A., No. 21-2566,
  Dkt. No. 1. Because the two cases request virtually identical relief and offer overlapping
  arguments, we determined not to hear the WTP Plaintiffs’ appeal on October 14, separate from
  the State appeal in Dr. A., but rather to hear the cases in tandem. We scheduled the combined
  oral argument for October 27, again on an expedited basis and with full briefing by the Dr. A.
  Plaintiffs and the State. Order, WTP, No. 21-2179, Dkt. No. 116; Dr. A., No. 21-2566, Dkt. No. 8.
  The parties helpfully coordinated their oral argument presentations to avoid needless
  repetition.



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  Toia, 560 F.2d 535, 537 (2d Cir. 1977)). When deciding whether to issue a preliminary

  injunction, courts “should pay particular regard for the public consequences in

  employing the extraordinary remedy of injunction.” Winter v. Nat. Res. Def. Council, Inc.,

  555 U.S. 7, 24 (2008).

         To obtain a preliminary injunction that “will affect government action taken in

  the public interest pursuant to a statute or regulatory scheme, the moving party must

  demonstrate (1) irreparable harm absent injunctive relief, (2) a likelihood of success on

  the merits, and (3) public interest weighing in favor of granting the injunction.” 13

  Agudath Israel of Am. v. Cuomo, 983 F.3d 620, 631 (2d Cir. 2020) (internal quotation marks

  omitted). The movant must also show that the balance of equities supports the issuance

  of an injunction. See Yang v. Kosinski, 960 F.3d 119, 127 (2d Cir. 2020). We review the

  grant or denial of a motion for a preliminary injunction for abuse of discretion. See

  Freedom Holdings, Inc. v. Spitzer, 408 F.3d 112, 114 (2d Cir. 2005). A district court has

  exceeded the permissible bounds of its discretion when its “decision rests on an error of

  law (such as application of the wrong legal principle) or a clearly erroneous factual

  finding” or “cannot be located within the range of permissible decisions.”




  13In Dr. A., the district court applied the likelihood-of-success standard, and the Dr. A. Plaintiffs
  do not now argue that this was error. The parties in WTP, in contrast, cite our Court’s
  alternative, less demanding “serious questions” standard for obtaining preliminary injunctive
  relief, which authorizes injunctive relief if the movant has shown imminent irreparable harm as
  well as “sufficiently serious questions going to the merits of its claims to make them fair ground
  for litigation, plus a balance of the hardships tipping decidedly in favor of the moving party.”
  New York ex rel. Schneiderman v. Actavis PLC, 787 F.3d 638, 650 (2d Cir. 2015) (internal quotation
  marks omitted). But we have consistently applied the likelihood-of-success standard to cases
  challenging government actions taken in the public interest pursuant to a statutory or
  regulatory scheme, including in cases involving emergency regulations and orders. See, e.g.,
  Agudath Israel, 983 F.3d at 631; Alleyne v. New York State Educ. Dep’t, 516 F.3d 96, 99–101 (2d Cir.
  2008). The WTP parties have not explained why the “serious questions” standard should
  nonetheless govern here. Accordingly, in our review of both appeals, we apply the likelihood-
  of-success standard.



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  Mastrovincenzo v. City of New York, 435 F.3d 78, 88 (2d Cir. 2006) (internal quotation

  marks omitted).

         Because the issues and arguments presented by these two appeals overlap

  substantially, we consider them together, issue by issue, differentiating between them

  only as we think necessary. 14


  I.     Likelihood of Success on the Merits: Free Exercise of Religion Claim

         Plaintiffs contend that Section 2.61 violates their rights under the Free Exercise

  Clause of the First Amendment because it does not include an exemption for employees

  who oppose receiving the vaccine on religious grounds.

         On a motion for preliminary injunction, the movants must show that they are

  likely to prevail on their claim that the challenged government action is unlawful. On

  the record before us, we conclude that neither the Dr. A. Plaintiffs nor the WTP

  Plaintiffs have established a likelihood of success on their Free Exercise claims such that

  they are entitled to the “extraordinary relief” of a preliminary injunction. The district

  court’s conclusion to the contrary in Dr. A. was legal error and rested on clearly

  erroneous findings of fact.

         A.      The Smith Standard

         The First Amendment forbids the enactment of laws, either state or federal, that

  “prohibit[] the free exercise” of religion. 15 U.S. Const., amend. I. But not all laws that




  14Although the district court’s order denying the WTP Plaintiffs’ motion did not state the basis
  for its decision, we may “affirm on any ground supported by the record.” NXIVM Corp. v. Ross
  Inst., 364 F.3d 471, 476 (2d Cir. 2004).

  15In relevant part, the First Amendment provides that “Congress shall make no law respecting
  an establishment of religion, or prohibiting the free exercise thereof.” The stricture has been



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  burden an individual’s exercise of religion contravene this deeply rooted prohibition.

  Nor do they always trigger heightened scrutiny. The Supreme Court has long applied

  the standard set out by Justice Scalia for the Court in Employment Division v. Smith to

  determine whether a democratically enacted law that burdens religious practice is

  properly considered under rational basis review or strict scrutiny. See 494 U.S. at 879;

  Fulton v. City of Philadelphia, 141 S. Ct. 1868, 1876 (2021).

         Under Smith, a “neutral law of general applicability” is subject to rational basis

  review even if it incidentally burdens a particular religious practice. 494 U.S. at 878–79;

  see also Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 531 (1993).

  We have observed that “[t]he teaching of Smith is that a state can determine that a

  certain harm should be prohibited generally, and a citizen is not, under the auspices of

  her religion, constitutionally entitled to an exemption.” Central Rabbinical Congress of the

  U.S. & Canada v. N.Y.C. Dep’t of Health & Mental Hygiene, 763 F.3d 183, 196 (2d Cir. 2014).

  But if a law is not neutral towards religion or is not generally applicable, it falls outside

  the boundaries of Smith. Then, for such a law to survive, it “must be justified by a

  compelling governmental interest and must be narrowly tailored to advance that

  interest.” Lukumi, 508 U.S. at 531–32.

         Because they seek a preliminary injunction, Plaintiffs bear the initial burden of

  establishing a likelihood of success on the merits. In the context of their First

  Amendment claim, this means that Plaintiffs must show that they are likely to succeed

  on their claim that Section 2.61 is not a neutral or generally applicable rule. If they

  succeed at that step, the burden shifts to the State to show that it is likely to succeed in

  defending the challenged Rule under strict scrutiny. Cf. Gonzales v. O Centro Espirita

  Beneficente Uniao do Vegetal, 546 U.S. 418, 429 (2006) (“[T]he burdens at the preliminary


  held to limit the authorities of the states as well. See Cantwell v. Connecticut, 310 U.S. 296, 303
  (1940).



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  injunction stage track the burdens at trial.”). We conclude that, at this stage, Plaintiffs

  have not carried their initial burden of showing that Section 2.61 is likely not neutral or

  generally applicable.

           B.     Neutrality

           The State “fails to act neutrally when it proceeds in a manner intolerant of

  religious beliefs or restricts practices because of their religious nature.” Fulton, 141 S. Ct.

  at 1877; see also Lukumi, 508 U.S. at 532 (First Amendment protections apply when “the

  law at issue discriminates against some or all religious beliefs or regulates or prohibits

  conduct because it is undertaken for religious reasons”). A law may be not neutral if it

  explicitly singles out a religious practice, but even a facially neutral law will run afoul of

  the neutrality principle if it “targets religious conduct for distinctive treatment.”

  Lukumi, 508 U.S. at 533–34.

           The Supreme Court has explained that “[a] law lacks facial neutrality if it refers

  to a religious practice without a secular meaning discernable from the language or

  context.” Id. at 533. Section 2.61 is facially neutral because it does not single out

  employees who decline vaccination on religious grounds. It applies to all “personnel,”

  as carefully defined in the Rule, aside from those who qualify for the narrowly framed

  medical exemption.

           Plaintiffs nonetheless maintain that the regulation “targets” them because of

  their religious opposition to receiving any one of the three currently available COVID-

  19 vaccines. In support, they point to events preceding the enactment of Section 2.61

  and to several of Governor Hochul’s public comments during the month of September

  as reflective of discriminatory intent on the part of the State. We take these claims in

  order.




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         First, Plaintiffs argue that the fact that the August 18 Order contained a religious

  exemption, but Section 2.61 does not, demonstrates that in Section 2.61 the State

  intended to “target” those who object to vaccination on religious grounds, and that this

  reflects anti-religion animus. The district court in Dr. A. agreed, finding that the

  difference between the two government actions amounted to a “religious

  gerrymander.” Dr. A., 2021 WL 4734404, at *8 (quoting Lukumi, 508 U.S. at 535).

  Specifically, the district court determined that Section 2.61, enacted eight days after the

  August 18 Order, intentionally “amended the [August 18 Order] to eliminate the

  religious exemption.” Id. As a result, the district court concluded that Plaintiffs had

  established a likelihood that Section 2.61 was non-neutral based on their argument that

  it “effectively targets religious opposition to the available COVID-19 vaccines.” Id.

         In Lukumi, the Supreme Court determined that the municipal ordinance at issue,

  which prohibited animal sacrifice, was not neutral because it effectively prohibited

  conduct only undertaken by adherents to the Santeria religion as a part of their religious

  practice. See 508 U.S. at 534–35. In contrast, Section 2.61 requires all covered employees

  who can safely receive the vaccine to be vaccinated. It applies whether an employee is

  eager to be vaccinated or strongly opposed, and it applies whether an employee’s

  opposition or reluctance is due to philosophical or political objections to vaccine

  requirements, concerns about the vaccine’s efficacy or potential side effects, or religious

  beliefs. The absence of a religious exception to a law does not, on its own, establish non-

  neutrality such that a religious exception is constitutionally required.

         Further, that the August 18 Order contained a religious exemption, while Section

  2.61 does not, falls short of rendering Section 2.61 non-neutral. The historical

  background of Section 2.61, to be determined following discovery, may be relevant to

  fully discerning the State’s intent, but the evidence before the district courts failed to

  raise an inference that the regulation was intended to be a “covert suppression of



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  particular religious beliefs.” New Hope Family Servs., Inc. v. Poole, 966 F.3d 145, 163 (2d

  Cir. 2020) (quoting Lukumi, 508 U.S. at 534). In suggesting that Section 2.61 “eliminated”

  the religious exemption, WTP Appellants’ Br. at 10, Plaintiffs misconstrue the

  connection between the August 18 Order and the August 26 Rule. 16 The August 18

  Order was issued by Commissioner Zucker alone as an emergency measure, intended

  to be in place for a maximum of 15 days, in response to reports of the surging Delta

  variant. Section 2.61, in contrast, was issued following collective deliberation by the 25-

  member Public Health and Health Planning Council under the emergency rulemaking

  procedures set forth in New York law, which provided more process, public input, and

  support for a measure that would be effective for 90 days subject to renewal. These

  procedures required the Council, among other things, to develop and issue specific

  findings and a regulatory impact statement. NYS Admin. Proc. Act § 202(6)(iv), (viii).

  After this extensive process, the full Council came to the conclusion that the vaccine

  requirement should apply to a broader set of healthcare entities and, consistent with the

  State’s highly effective existing vaccine requirements for measles and rubella (issued

  with no religious exemption), see 10 N.Y.C.R.R. §§ 405.3, 415.26, 751.6, 763.13, 766.11,

  794.3, 1001.11, should not contain a religious exemption. The Council did not amend the

  August 18 Order: rather, it independently promulgated a new Rule. The record before

  the district courts does not demonstrate that the Rule was intended to “target”



  16In a recent decision, the First Circuit similarly misunderstood the connection between the
  August 18 Order and August 26 Rule when attempting to distinguish the New York vaccination
  mandate from the Maine vaccination mandate. See Does 1-6 v. Mills, — F.4th —, 2021 WL
  4860328 (1st Cir. Oct. 19, 2021), application for injunctive relief denied sub nom. Does 1-3 v. Mills, —
  S. Ct. —, No. 21A90, 2021 WL 5027177 (Oct. 29, 2021). The First Circuit mistakenly wrote, “Eight
  days after New York officials promulgated a version of the regulation containing a religious
  exemption, they amended the regulation to eliminate the religious exemption.” Id. at *9.
  However, as we explain above, there was no “amending” of the regulation to remove a
  religious exemption. Rather, the August 18 Order and the August 26 Rule were issued through
  two separate processes.



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  individuals opposed to receiving the COVID-19 vaccines because of their religious

  beliefs.

            Additionally, much occurred in the time between August 18 and August 26:

  former Governor Andrew Cuomo resigned and Governor Hochul assumed office; 17 the

  FDA gave full approval to the Pfizer-BioNTech vaccine for individuals 16 years of age

  and older; 18 and the Delta variant continued its spread, becoming the dominant strain of

  the virus in the State.19 Even if the differing August 18 and August 26 requirements can

  be said to represent a shift in the State’s policy position, Plaintiffs have not adduced

  facts establishing that the change stemmed from religious intolerance, rather than an

  intent to more fully ensure that employees at healthcare facilities receive the vaccine in

  furtherance of the State’s public health goals. 20

            Second, on appeal, Plaintiffs assert that certain comments made by Governor

  Hochul in September reveal that Section 2.61 was intended to target them because of

  their religious opposition to the required vaccination. 21 Some of those comments,




  17New York State Governor’s Office, Video, Audio, Photos & Rush Transcript: Kathy Hochul Is
  Sworn in as 57th Governor of New York State (Aug. 24, 2021),
  https://www.governor.ny.gov/news/video-audio-photos-rush-transcript-kathy-hochul-sworn-
  57th-governor-new-york-state.

  18Press Release, U.S. Food and Drug Administration, FDA Approves First COVID-19 Vaccine
  (Aug. 23, 2021), https://www.fda.gov/news-events/press-announcements/fda-approves-first-
  covid-19-vaccine.

  19   See Dr. A. Sp. App’x at 39.

  20This is another area in which factual development can be expected to shed more light on the
  circumstances surrounding the creation of both the Order and the Rule and validate or disprove
  Plaintiffs’ allegations.

  21Governor Hochul made the statements at issue after both the Dr. A. Plaintiffs and the WTP
  Plaintiffs filed their preliminary injunction motions.



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  however, did not relate to Section 2.61 or workplace vaccine requirements at all,

  including Governor Hochul’s statements at church services in which she urged those in

  attendance to get vaccinated. 22 Governor Hochul’s expression of her own religious

  belief as a moral imperative to become vaccinated cannot reasonably be understood to

  imply an intent on the part of the State to target those with religious beliefs contrary to

  hers; otherwise, politicians’ frequent use of religious rhetoric to support their positions

  would render many government actions “non-neutral” under Smith. At a press briefing

  on September 15, in which she responded to the temporary restraining order issued in

  Dr. A., Governor Hochul stated her “personal opinion” that no religious exemption is

  required and that she was “not aware of” any “sanctioned religious exemption from

  any organized religion.” 23 This comment simply mirrors the State’s litigation position

  and conveys the fact—which Plaintiffs do not contest—that many religious leaders have

  stated that vaccination is consistent with their faiths. 24 Governor Hochul’s comments

  may more reasonably be understood to express general support for religious principles




  22See New York State Governor’s Office, Rush Transcript: Governor Hochul Attends Service at
  Christian Cultural Center (Sept. 26, 2021), https://www.governor.ny.gov/news/rush-transcript-
  governor-hochul-attends-service-christian-cultural-center; New York State Governor’s Office,
  Video, Audio, Photos & Rush Transcript: Governor Hochul Attends Services at Abyssinian
  Baptist Church in Harlem (Sept. 12, 2021), https://www.governor.ny.gov/news/video-audio-
  photos-rush-transcript-governor-hochul-attends-services-abyssinian-baptist-church.

  23See New York State Governor’s Office, Video & Rush Transcript: Governor Hochul Holds
  Q&A Following COVID-19 Briefing (Sept. 15, 2021), https://www.governor.ny.gov/news/video-
  rough-transcript-governor-hochul-holds-qa-following-covid-19-briefing.

  24See, e.g., Devin Watkins, Pope Francis Urges People to Get Vaccinated Against Covid-19, Vatican
  News (Aug. 18, 2021), https://www.vaticannews.va/en/pope/news/2021-08/popefrancis-appeal-
  covid-19-vaccines-act-of-love.html; Chairmen of the Committee on Doctrine and the Committee
  on Pro-Life Activities, Moral Considerations Regarding the New COVID-19 Vaccines, U.S. Conf. of
  Catholic Bishops (Dec. 11, 2020), https://www.usccb.org/moral-considerations-covid-vaccines.



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  that she believes guide community members to care for one another by receiving the

  COVID-19 vaccine.

         Altogether, Governor Hochul’s comments, even considered in light of the

  differing approaches taken by Commissioner Zucker in the August 18 Order and the

  full Council in the Rule, do not evince animosity towards particular religious practices

  or a desire to target religious objectors to the vaccine requirement because of their

  religious beliefs. Rather, they suggest that the State wanted more people to obtain the

  vaccine out of a deep concern for public health, which is a religion-neutral government

  interest.

         We therefore conclude that Plaintiffs at this stage have not carried their burden

  of establishing that Section 2.61 is likely not neutral. The district court’s contrary

  conclusion in Dr. A. was based on a clearly erroneous assessment of the record before it.

         C.     General Applicability

         As the Supreme Court recently explained in Fulton v. City of Philadelphia, a law

  may not be “generally applicable” under Smith for either of two reasons: first, “if it

  invites the government to consider the particular reasons for a person’s conduct by

  providing a mechanism for individualized exemptions”; or, second, “if it prohibits

  religious conduct while permitting secular conduct that undermines the government’s

  asserted interests in a similar way.” 141 S. Ct. at 1877 (internal quotation marks and

  alterations omitted). Here, Plaintiffs’ argument, in substance, is that because Section

  2.61 includes a medical exemption, it is not “generally applicable.”

                1. Whether Section 2.61 Permits “Comparable” Secular Conduct

         The general applicability requirement “protects religious observers against

  unequal treatment, and inequality that results when a legislature decides that the

  governmental interests it seeks to advance are worthy of being pursued only against



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  conduct with a religious motivation.” Central Rabbinical Congress, 763 F.3d at 196–97

  (alterations omitted) (quoting Lukumi, 508 U.S. at 542–43). 25 “A law is therefore not

  generally applicable if it is substantially underinclusive such that it regulates religious

  conduct while failing to regulate secular conduct that is at least as harmful to the

  legitimate government interests purportedly justifying it.” Id. at 197. As the Supreme

  Court stated in a recent order, “whether two activities are comparable for purposes of

  the Free Exercise Clause must be judged against the asserted government interest that

  justifies the regulation at issue.” Tandon v. Newsom, 141 S. Ct. 1294, 1296 (2021).

  “Comparability is concerned with the risks various activities pose.” Id. Notably, in

  Smith, a law criminalizing controlled substance possession was deemed generally

  applicable even though it contained an exception for substances prescribed for medical

  purposes. 494 U.S. at 874, 878–82.

         The State alleges that the following interests underlie its adoption of Section 2.61.

  First, it seeks to prevent the spread of COVID-19 in healthcare facilities among staff,

  patients, and residents. Second, by protecting the health of healthcare employees to

  ensure they are able to continue working, it aims to reduce the risk of staffing shortages

  that can compromise the safety of patients and residents even beyond a COVID-19

  infection. Thus, the State maintains, the medical and any religious exemption differ in



  25Plaintiffs suggest that our decision in Central Rabbinical Congress was overruled by the
  Supreme Court’s orders in Roman Catholic Diocese and Tandon. But Central Rabbinical Congress’s
  formulation of the standard for identifying “comparable secular activity”—“secular conduct
  that is at least as harmful [as religious conduct] to the legitimate government interests
  purportedly justifying it,” 763 F.3d at 197—is consistent with the Supreme Court’s statements in
  both of those cases. See Roman Catholic Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 67 (2020)
  (stating that less-regulated factories, schools, and shopping centers were much more crowded
  than churches and synagogues or had contributed to the spread of COVID-19, in contrast to the
  religious institutions’ “admirable safety records”); Tandon v. Newsom, 141 S. Ct. 1294, 1297 (2021)
  (considering secular activities comparable where they were not found to “pose a lesser risk of
  transmission than [plaintiffs’] proposed religious exercise at home”).



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  an important respect: applying the Rule to those who oppose vaccination on religious

  grounds furthers the State’s asserted interests, whereas applying the Rule to those

  subject to medical contraindications or precautions based on pre-existing conditions

  would undermine the government’s asserted interest in protecting the health of covered

  personnel. Cf. Does 1-6 v. Mills, — F.4th —, 2021 WL 4860328, at *6 (1st Cir. Oct. 19,

  2021), application for injunctive relief denied sub nom. Does 1-3 v. Mills, — S. Ct. —, No.

  21A90, 2021 WL 5027177 (Oct. 29, 2021). Vaccinating a healthcare employee who is

  known or expected to be injured by the vaccine would harm her health and make it less

  likely she could work. The State identified these objectives in the Regulatory Impact

  Statement accompanying the emergency rulemaking, and Plaintiffs do not point to any

  evidence suggesting that the interests asserted are pretextual or should otherwise be

  disregarded in the comparability analysis. Accordingly, the State makes a reasonable

  case that Section 2.61 contains a medical exemption not because it determined that “the

  governmental interests it seeks to advance are worthy of being pursued only against

  conduct with a religious motivation,” Lukumi, 508 U.S. at 543, but because applying the

  vaccination requirement to individuals with medical contraindications and precautions

  would not effectively advance those interests. Indeed, applying the vaccine to

  individuals in the face of certain contraindications, depending on their nature, could

  run counter to the State’s “interest in protecting the integrity and ethics of the medical

  profession.” Gonzales v. Carhart, 550 U.S. 124, 157 (2007) (quoting Washington v.

  Glucksberg, 521 U.S. 702, 731 (1997)); see also Jacobson v. Massachusetts, 197 U.S. 11, 38–39

  (1905) (recognizing that the state may not be permitted to require vaccination of

  individuals with contraindications).

         Importantly, the State has also presented evidence that raises the possibility that

  the exemptions are not comparable in terms of the “risk” that they pose. See Tandon, 141

  S. Ct. at 1296. It notes that the medical exemption is defined to be limited in duration, as




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  the vaccine requirement is “inapplicable only until such immunization is found no

  longer to be detrimental to such personnel member’s health.” 10 N.Y.C.R.R. § 2.61(d)(1).

  Although some of the contraindications and precautions identified by ACIP and

  incorporated into the Department of Health guidance are long-term health conditions,

  others are in fact explicitly temporary, such as having a current moderate-to-severe

  acute illness. 26 In contrast, a sincerely held religious belief that vaccination is

  inconsistent with one’s religion is unlikely to change to permit vaccination in the future,

  absent the approval of new vaccines that are developed in a different way. The statistics

  provided by the State further indicate that medical exemptions are likely to be more

  limited in number than religious exemptions, and that high numbers of religious

  exemptions appear to be clustered in particular geographic areas. See Dr. A. Appellants’

  Reply Br. at 13 (citing Serafin, Index No. 908296-21, Doc. No. 57 (Decl. of Dorothy

  Persico)) (ratios of religious exemptions to medical exemptions among Erie County and

  Monroe County hospital workers were 18 to 1 and 23 to 1, respectively). 27

            As a result, it may be feasible for healthcare entities to manage the COVID-19

  risks posed by a small set of objectively defined and largely time-limited medical

  exemptions. In contrast, it could pose a significant barrier to effective disease

  prevention to permit a much greater number of permanent religious exemptions,

  which, according to the State’s evidence, appear more commonly sought in certain

  locations. See Serafin, Index No. 908296-21, Doc. No. 57 (Decl. of Dorothy Persico).

  Although these differences may, after factual development, be shown to be too

  insignificant to render the exemptions incomparable, the limited evidence now before




  26   See FAQs, supra at 10.

  27As discussed, Plaintiffs do not contest the State’s assertion that higher numbers of employees
  claim religious exemptions than medical exemptions. See supra note 3.



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  us suggests that the medical exemption is not “as harmful to the legitimate government

  interests purportedly justifying” the Rule as a religious exemption would be. Central

  Rabbinical Congress, 763 F.3d at 197.

         In their efforts to show a likelihood of success on the merits, Plaintiffs counter

  that Section 2.61, by providing a medical but not a religious exemption, effectively

  prohibits religion-based refusals of vaccination while permitting “comparable” refusals

  on secular grounds. To establish comparability under Smith, Plaintiffs rely heavily on

  the general—and reasonable—proposition that any individual unvaccinated employee

  is likely to present statistically comparable risks of both contracting and spreading

  COVID-19 at any given healthcare facility, irrespective of the reason that the employee

  is unvaccinated. In Plaintiffs’ view, the Supreme Court’s orders in Roman Catholic

  Diocese of Brooklyn v. Cuomo and Tandon v. Newsom require us to confine our analysis to

  evaluating the risk of COVID-19 transmission posed by each unvaccinated individual.

         Both of those cases involved challenges to occupancy limits placed on religious

  services, in an effort to curb COVID-19 transmission indoors, which were not applied to

  secular businesses with similarly high capacities. See Roman Catholic Diocese of Brooklyn

  v. Cuomo, 141 S. Ct. 63, 67 (2020); Tandon, 141 S. Ct. at 1297. Unlike Plaintiffs’ proposed

  analysis here, however, Roman Catholic Diocese and Tandon did not involve a one-to-one

  comparison of the transmission risk posed by an individual worshipper and, for

  example, an individual grocery shopper. The Supreme Court’s discussion in those

  cases, which compared the risks posed by groups of various sizes in various settings,

  suggests the appropriateness of considering aggregate data about transmission risks.

  See, e.g., Roman Catholic Diocese, 141 S. Ct. at 66–67 (comparing “a large store in Brooklyn

  that could literally have hundreds of people shopping there on any given day” with “a

  nearby church or synagogue [that] would be prohibited from allowing more than 10 or

  25 people for a worship service”). We doubt that, as an epidemiological matter, the



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  number of people seeking exemptions is somehow excluded from the factors that the

  State must take into account in assessing the relative risks to the health of healthcare

  workers and the efficacy of its vaccination strategy in actually preventing the spread of

  disease. The record before us contains only limited data regarding the prevalence of

  medical ineligibility and religious objections, but what data we do have indicates that

  claims for religious exemptions are far more numerous.

         Further, Tandon expressly instructs courts to consider “the asserted government

  interest that justifies the regulation at issue” when determining whether two activities

  are comparable for Free Exercise Clause purposes. Tandon, 141 S. Ct. at 1296. By

  confining their discussion of comparability to individual risk of transmission alone,

  Plaintiffs fail to engage with the reasons above, persuasive to us, that substantially

  distinguish the medically ineligible from the religious objectors in light of the State’s

  asserted purposes. At this stage, Plaintiffs do not meaningfully challenge the legitimacy

  of the government’s asserted interest in protecting the health of workers and

  maintaining staffing levels, or the proposition that requiring those who have been

  granted a medical exemption to be vaccinated would undermine those interests to a

  lesser degree than would a religious exemption.

         As counsel for the WTP Plaintiffs acknowledged at oral argument, Plaintiffs here

  essentially contend that all existing vaccination mandates without a religious exemption

  necessarily fail the general applicability test because they likely all contain medical

  exemptions. At the same time, it appears that for decades, those charged with

  protecting the public health against infectious disease in New York State have required

  vaccination of all medically eligible employees and treated the requirement as a

  condition of employment in the healthcare arena. For example, the State has required

  healthcare employees to be vaccinated against rubella and measles since 1980 and 1991,

  respectively, without a religious exemption. Many of these vaccines, including the



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  rubella vaccine, appear from the information available to us (and not to date contested

  by Plaintiffs) to have connections to the same fetal cell lines that form the basis for

  Plaintiffs’ religious objections here. See Los Angeles County Dep’t of Pub. Health,

  COVID-19 Vaccine and Fetal Cell Lines, supra note 5. Thus, if accepted, Plaintiffs’

  arguments would go beyond just being inconsistent with past practices: they would

  have potentially far-reaching and harmful consequences for governments’ ability to

  enforce longstanding public health rules and protocols.

         With a record as undeveloped on the issue of comparability as that presented

  here, we cannot conclude that the above vaccination requirements are per se not

  generally applicable, as Plaintiffs’ argument would have it, so as to support a

  preliminary injunction at this time. See Smith, 494 U.S. at 888–89 (counting “compulsory

  vaccination laws” among those generally applicable civic obligations for which no

  religious exemption is required); see also Prince v. Massachusetts, 321 U.S. 158, 166–67

  (1944) (“[A parent] cannot claim freedom from compulsory vaccination for the child

  more than for himself on religious grounds. The right to practice religion freely does not

  include liberty to expose the community or the child to communicable disease . . . .”

  (footnote omitted)); Phillips v. City of New York, 775 F.3d 538, 543 (2d Cir. 2015) (per

  curiam) (maintaining that religious exemptions to vaccine mandates are not

  constitutionally required).

         The record before the district courts was sparse. It does not support a conclusion

  that Plaintiffs have borne their burden of demonstrating that the medical exemption

  provided in Section 2.61 and the religious exemption sought are likely comparable.

                2. Whether Section 2.61 Provides for a System of Individualized Exemptions

         General applicability may be absent when a law provides “a mechanism for

  individualized exemptions,” Smith, 494 U.S. at 884, because it creates the risk that




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  administrators will use their discretion to exempt individuals from complying with the

  law for secular reasons, but not religious reasons. For instance, in Smith, the Supreme

  Court distinguished generally applicable laws from an unemployment compensation

  statute under which applicants were eligible for benefits if they presented “good cause”

  for their unemployment, which allowed administrators, in their discretion, to refuse an

  exemption if an applicant could not work for religious reasons, but to grant an

  exemption if an applicant could not work for other personal reasons. 494 U.S. at 884

  (quoting Bowen v. Roy, 476 U.S. 693, 708 (1986) (plurality opinion) and citing Sherbert v.

  Verner, 374 U.S. 398, 401 & n.4 (1963)). The Court observed that the context of the

  unemployment compensation system “lent itself to individualized government

  assessment of the reasons for the relevant conduct.” Id. Similarly, the Court recently

  found a system of individualized exemptions to exist where an official had “sole

  discretion” to grant or deny exemptions to the anti-discrimination provision in

  contracts between the City of Philadelphia and adoption service providers. Fulton, 141

  S. Ct. at 1878–79.

         As other Circuits have noted, however, “an exemption is not individualized

  simply because it contains express exceptions for objectively defined categories of

  persons.” 303 Creative LLC v. Elenis, 6 F.4th 1160, 1187 (10th Cir. 2021) (internal

  quotation marks and alteration omitted); see also Stormans, Inc. v. Wiesman, 794 F.3d

  1064, 1081–82 (9th Cir. 2015) (finding that the challenged “rules do not afford unfettered

  discretion that could lead to religious discrimination because the provisions are tied to

  particularized, objective criteria”), cert. denied, 136 S. Ct. 2433 (2016); cf. Intercommunity

  Ctr. for Justice & Peace v. I.N.S., 910 F.2d 42, 45 (2d Cir. 1990) (concluding that

  immigration law that prohibited knowingly employing an unauthorized immigrant did

  “not provide for a discretionary exemption that is applied in a manner that fails to

  accommodate free exercise concerns” despite its inclusion of an exemption for




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  employing certain household employees hired before November 1986). The “mere

  existence of an exemption procedure,” absent any showing that secularly motivated

  conduct could be impermissibly favored over religiously motivated conduct, is not

  enough to render a law not generally applicable and subject to strict scrutiny. Lighthouse

  Inst. for Evangelism, Inc. v. City of Long Branch, 510 F.3d 253, 276 (3d Cir. 2007).

         The WTP Plaintiffs argue that the medical exemption in Section 2.61 creates a

  mechanism for individualized exemptions. They are mistaken. The medical exemption

  here does not “‘invite’ the government to decide which reasons for not complying with

  the policy are worthy of solicitude.” Fulton, 141 S. Ct. at 1879 (quoting Smith, 494 U.S. at

  884). Instead, the Rule provides for an objectively defined category of people to whom

  the vaccine requirement does not apply: employees who present a certification from a

  physician or certified nurse practitioner attesting that they have a pre-existing health

  condition that renders the vaccination detrimental to their health, in accordance with

  generally accepted medical standards, such as those published by ACIP, 28 for the period



  28 Under the generally accepted medical standards published by ACIP, cognizable
  contraindications to the COVID-19 vaccines are limited to “[s]evere allergic reaction (e.g.,
  anaphylaxis) after a previous dose or to a component of the COVID-19 vaccine” and
  “[i]mmediate (within 4 hours) allergic reaction of any severity to a previous dose or known
  (diagnosed) allergy to a component of the COVID-19 vaccine.” FAQs, supra at 10 (citing ACIP
  standards). Precautions to the vaccines are limited to “[c]urrent moderate to severe acute
  illness[,] . . . [h]istory of an immediate allergic reaction to any other (not COVID-19) vaccine or
  injectable therapy (excluding allergy shots)[, and] [h]istory of myocarditis or pericarditis after
  receiving the first dose of an mRNA COVID-19 vaccine.” Id. (citing ACIP standards).
  Additionally, individuals with a “contraindication to one type of COVID-19 vaccine (e.g.,
  mRNA COVID-19 vaccines) have precautions to another type of COVID-19 vaccine (e.g.,
  Janssen/Johnson & Johnson vaccine).” Id. (citing ACIP standards). An individual who has a
  contraindication to the vaccine cannot be safely vaccinated, but “[m]ost people deemed to have
  a precaution to a COVID-19 vaccine at the time of their vaccination appointment can and
  should be administered vaccine” after conducting a risk assessment with a healthcare provider.
  Centers for Disease Control and Prevention, Interim Clinical Considerations for Use of COVID-19
  Vaccines Currently Approved or Authorized in the United States: Contraindications and Precautions
  (Oct. 25, 2021), https://www.cdc.gov/vaccines/covid-19/clinical-considerations/covid-19-



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  during which the vaccination remains detrimental to their health. See 10 N.Y.C.R.R.

  § 2.61(d)(1). A written description of the nature and duration of the condition must be

  furnished, and the exemption must be documented. On its face, the Rule affords no

  meaningful discretion to the State or employers, and Plaintiffs have not put forth any

  evidence suggesting otherwise. For example, Plaintiffs have not plausibly alleged or

  offered evidence to suggest that employees are requesting, or that the State is allowing,

  medical exemptions that do not conform to the Rule or applicable standards.

         That physicians and nurse practitioners must use their medical judgment to

  determine whether a particular individual has a contraindication or precaution against

  receiving the vaccine does not render the exemption discretionary. Indeed, Smith itself

  specifically held that a scheme that included a type of medical exemption—by not

  criminalizing the use of controlled substances when prescribed by a medical

  practitioner—was nonetheless generally applicable under the Free Exercise Clause. See

  Smith, 494 U.S. at 874. If the State can lawfully choose to apply the vaccination

  requirement to those with religious objections but not those medically unable to get

  vaccinated because the two are not comparable—and, as explained above, Plaintiffs

  have not established a likelihood of success on their argument to the contrary—then

  Section 2.61 appears to leave no room for the State to favor impermissible secular

  reasons for declining vaccination over religious reasons. 29



  vaccines-us.html#Contraindications. The specificity of these limitations stands in contrast to the
  absence of limitations and specificity in the medical exemption provided in the Maine statute
  recently subject to review and consideration by the Supreme Court. See Mills, 2021 WL 4860328,
  at *5 (construing Me. Rev. Stat. tit. 22, § 802); Mills, 2021 WL 5027177, at *2 (Gorsuch, J.,
  dissenting from the denial of application for injunctive relief) (stating that the law does not
  “limit what may qualify as a valid ‘medical’ reason to avoid inoculation”).

  29In Dahl v. Bd. of Trustees of Western Michigan Univ., — F.4th —, 2021 WL 4618519 (6th Cir. Oct.
  7, 2021) (per curiam), the Sixth Circuit, under different factual circumstances, ruled that a
  student-athlete vaccine mandate that provided that medical and religious exemptions would be



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         Based on the foregoing, Plaintiffs have not established, at the preliminary

  injunction stage, that they are likely to succeed in showing that Section 2.61 is not

  neutral or generally applicable. Accordingly, rational basis review applies. See Fulton,

  141 S. Ct. at 1876 (citing Smith, 494 U.S. at 878–82). Section 2.61 easily meets that

  standard, which requires that the State have chosen a means for addressing a legitimate

  goal that is rationally related to achieving that goal. See Jacoby & Meyers, LLP v. Presiding

  Justices of the First, Second, Third and Fourth Dep’ts, App. Div. of the Sup. Ct. of N.Y., 852

  F.3d 178, 191 (2d Cir. 2017). Faced with an especially contagious variant of the virus in

  the midst of a pandemic that has now claimed the lives of over 750,000 in the United

  States and some 55,000 in New York, the State decided as an emergency measure to

  require vaccination for all employees at healthcare facilities who might become infected

  and expose others to the virus, to the extent they can be safely vaccinated. This was a

  reasonable exercise of the State’s power to enact rules to protect the public health. 30 See

  Jacobson, 197 U.S. at 25; Phillips, 775 F.3d at 542–43.


  considered on an individual basis at the discretion of the University meant that the school’s
  vaccine mandate was not generally applicable under Fulton. Id. at *1, *4. We of course are not
  bound by that analysis, and we believe Dahl to have addressed a factual setting significantly
  different from that presented here. In Dahl, the University was afforded so much discretion to
  rule on individual cases, and so few standards governed the exercise of that discretion, as to
  leave room for the University to apply potentially discriminatory standards, or at least to avoid
  a neutral application of generally applicable principles. See id. at *4. Here, we think the
  standards articulated by ACIP and binding the State employers are sufficiently well-defined to
  avoid grossly pretextual or discriminatory application—and Plaintiffs have not met their
  burden to show that is not the case. Examined at a proper perspective—one suitable to dealing
  with large populations in a public health crisis—we see no basis for adopting the Dahl court’s
  approach here.

  30We also observe that, irrespective of whether Section 2.61 is ultimately upheld at the
  conclusion of this litigation, private healthcare institutions may impose vaccination
  requirements of their own, subject to any relevant limitations imposed by Title VII and other
  applicable law but regardless of the limitations that the First Amendment imposes on the State.



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  II.    Likelihood of Success on the Merits: Supremacy Clause and Title VII Claim

         The Dr. A. Plaintiffs contend that Section 2.61 contravenes the Supremacy Clause

  because it is preempted by Title VII, which prohibits discrimination in employment on

  the basis of religion. 42 U.S.C. § 2000e-2(a)(1)–(2). To succeed on this type of preemption

  claim, plaintiffs must show that “local law conflicts with federal law such that it is

  impossible for a party to comply with both or the local law is an obstacle to the

  achievement of federal objectives.” N.Y. SMSA Ltd. P’ship v. Town of Clarkstown, 612 F.3d

  97, 104 (2d Cir. 2010). 31

         Plaintiffs construe Section 2.61 to prohibit healthcare employers from making

  reasonable accommodations as otherwise required by Title VII. Plaintiffs cite the

  absence of an express religious exemption in Section 2.61 in support of their position

  that the Rule simply leaves “no room for Plaintiffs’ employers even to consider their

  reasonable religious accommodation requests as required by federal law under Title

  VII.” Dr. A. Appellees’ Br. at 29 (emphasis omitted). 32




  31“In general, three types of preemption exist: (1) express preemption, where Congress has
  expressly preempted local law; (2) field preemption, where Congress has legislated so
  comprehensively that federal law occupies an entire field of regulation and leaves no room for
  state law; and (3) conflict preemption, where local law conflicts with federal law such that it is
  impossible for a party to comply with both or the local law is an obstacle to the achievement of
  federal objectives.” N.Y. SMSA Ltd. P’ship, 612 F.3d at 104 (internal quotation marks omitted).
  Plaintiffs here invoke conflict preemption.

  32Although the Dr. A. Plaintiffs style their preemption claim as a challenge brought pursuant to
  the Supremacy Clause, the Supreme Court has held that the Supremacy Clause does not create
  an independent cause of action. See Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 324–25
  (2015) (“[T]he Supremacy Clause is not the source of any federal rights, and certainly does not
  create a cause of action. It instructs courts what to do when state and federal law clash, but is
  silent regarding who may enforce federal laws in court, and in what circumstances they may do
  so.”) (internal quotation marks and citations omitted).



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         The District Court for the Northern District of New York agreed, ruling that

  Plaintiffs were likely to succeed on the merits of this claim. See Dr. A., 2021 WL 4734404,

  at *6. The district court held that Section 2.61 “do[es] not make room for ‘covered

  entities’ to consider requests for reasonable religious accommodations,” and instead

  requires all personnel at covered entities to be vaccinated. Id. The district court

  observed that the employers of some Plaintiffs had revoked previously afforded

  religious exemptions or religious accommodations to COVID-19-vaccine requirements,

  citing the State’s adoption of Section 2.61. Id. In the district court’s view, Plaintiffs

  adequately demonstrated that Section 2.61 “effectively foreclose[s] the pathway to

  seeking a religious exemption that is guaranteed under Title VII.” Id.

         Title VII makes it unlawful for employers “to discharge . . . or otherwise to

  discriminate against any individual” in his or her employment “because of such

  individual’s . . . religion.” 42 U.S.C. § 2000e-2(a)(1). The statute defines “religion” to

  include “all aspects of religious observance and practice, as well as belief, unless an

  employer demonstrates that he is unable to reasonably accommodate . . . an

  employee’s . . . religious observance or practice without undue hardship on . . . the

  employer’s business.” Id. § 2000e(j); see Trans World Airlines, Inc. v. Hardison, 432 U.S. 63,

  66 (1977); cf. EEOC v. Abercrombie & Fitch Stores, Inc., 575 U.S. 768, 770 (2015).

         The Dr. A. Plaintiffs argue, as described above, that the absence of a religious

  exemption in Section 2.61 prohibits them from seeking reasonable accommodations

  from their employers under Title VII for their sincerely held religious beliefs. Section

  2.61 is silent, however, on the employment-related actions that employers may take in

  response to employees who refuse to be vaccinated for religious reasons. The State

  observes that “[n]othing in [Section 2.61] precludes employers from accommodating

  religious objectors by giving them . . . assignments—such as telemedicine—where they




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  would not pose a risk of infection to other personnel, patients, or residents.” Dr. A.

  Appellants’ Br. at 62. We agree with the State.

         Section 2.61, on its face, does not bar an employer from providing an employee

  with a reasonable accommodation that removes the individual from the scope of the

  Rule. Section 2.61 does not require employers to violate Title VII because, although it

  bars an employer from granting a religious exemption from the vaccination requirement,

  it does not prevent employees from seeking a religious accommodation allowing them to

  continue working consistent with the Rule, while avoiding the vaccination requirement.

  See also Mills, 2021 WL 4860328, at *10 (“The appellants’ Supremacy Clause argument

  rests on their assertion that the hospitals . . . have claimed that the protections of Title

  VII are inapplicable in the State of Maine. The record simply does not support that

  argument. . . . [T]he hospitals merely dispute that Title VII requires them to offer the

  appellants the religious exemptions they seek.” (internal quotation marks and alteration

  omitted)).

         Contrary to the Dr. A. Plaintiffs’ interpretation of the statute, Title VII does not

  require covered entities to provide the accommodation that Plaintiffs prefer—in this

  case, a blanket religious exemption allowing them to continue working at their current

  positions unvaccinated. To avoid Title VII liability for religious discrimination, an

  employer “need not offer the accommodation the employee prefers.” Cosme v.

  Henderson, 287 F.3d 152, 158 (2d Cir. 2002). Instead, an employer must offer a reasonable

  accommodation that does not cause the employer an undue hardship. Once “any

  reasonable accommodation is provided, the statutory inquiry ends.” Id. Because Section

  2.61’s text does not foreclose all opportunity for Plaintiffs to secure a reasonable

  accommodation under Title VII, the Rule does not conflict with federal law. Therefore,

  the district court’s conclusion to the contrary constituted legal error.




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         The district court’s conclusion also turned on clearly erroneous factual findings.

  At this stage, the Dr. A. Plaintiffs have submitted little in support of their broad

  allegations about the effect of Section 2.61. The district court reached the conclusion that

  accommodation by their employers was foreclosed upon the Dr. A. Plaintiffs’ say-so,

  without any documentation supporting Plaintiffs’ allegations that they were denied

  reasonable accommodations from their employers. The district court granted the Dr. A.

  Plaintiffs’ motion for a preliminary injunction without a hearing and without knowing

  the identities of Plaintiffs’ employers or the substance of Plaintiffs’ interactions with

  their employers. It may turn out that the opportunities for a reasonable accommodation

  under Title VII for religious objectors to the vaccine are numerous, or it may be that

  there are so few as to be illusory. Perhaps accommodations for the medically ineligible

  leave few available for the religious objectors. 33 Or perhaps the requests for

  accommodations in each category will vary by employer, by part of the State, or by

  employee demographics. But without any data in the record, we cannot conclude that

  Plaintiffs have met their burden to show a likelihood of success on the merits, and we

  decline to draw any conclusion about the availability of reasonable accommodation

  based solely on surmise and speculation.

         At this preliminary stage, we therefore conclude that the district court erred by

  finding that Plaintiffs are likely to succeed on their claim that Section 2.61 is preempted

  by Title VII and therefore violative of the Supremacy Clause.




  33Although the Rule does not prevent healthcare entities from taking additional precautions to
  minimize the transmission risk posed by medically exempt employees, healthcare entities may
  permit a medically exempt employee to continue normal job responsibilities provided they
  comply with requirements for personal protective equipment. See FAQs, supra at 10.



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  III.      Likelihood of Success on the Merits: Rights to Privacy, Medical Freedom, and
            Bodily Autonomy Claim

            The WTP Plaintiffs maintain on appeal that they are likely to succeed in

  establishing that Section 2.61 violates their fundamental rights to privacy, medical

  freedom, and bodily autonomy under the Fourteenth Amendment. 34 This argument also

  fails.

            Both this Court and the Supreme Court have consistently recognized that the

  Constitution embodies no fundamental right that in and of itself would render vaccine

  requirements imposed in the public interest, in the face of a public health emergency,

  unconstitutional. See Jacobson, 197 U.S. at 25–31, 37; Phillips, 775 F.3d at 542–43.

  Plaintiffs’ argument that the Supreme Court’s decision in Roman Catholic Diocese

  “expressly overruled” Jacobson is a mystery, given that the majority did not even

  mention Jacobson. WTP Appellants’ Br. at 35; see generally Roman Catholic Diocese, 141 S.

  Ct. 63.

            Their alternative contention that Jacobson and Phillips have been implicitly

  overruled by the Supreme Court likewise finds no support in caselaw. In Cruzan, a case

  relied upon by Plaintiffs for the proposition that they have a fundamental constitutional

  right to refuse medical treatment, the Court expressly recognized its holding in Jacobson

  that “an individual’s liberty interest in declining an unwanted smallpox vaccine” was

  outweighed there by “the State’s interest in preventing disease.” Cruzan by Cruzan v.




  34The WTP Plaintiffs’ complaint describes these rights as arising from the First, Fourth, Fifth,
  and Fourteenth Amendments, but on appeal they assert that these rights are derived from either
  the Fourteenth Amendment alone or a combination of the First, Fourth, Fifth, Ninth, and
  Fourteenth Amendments. Because the WTP Plaintiffs do not make any particularized argument
  for why the fundamental rights they assert may be implicated by constitutional provisions other
  than the Fourteenth Amendment, we evaluate only their challenge as to the Fourteenth
  Amendment.



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  Dir., Missouri Dep’t of Health, 497 U.S. 261, 278 (1990). Plaintiffs provide no basis for

  concluding that the vaccination requirement here, considerably narrower than the city-

  wide mandate in Jacobson, violates a fundamental constitutional right. 35 Although

  individuals who object to receiving the vaccines on religious grounds have a hard

  choice to make, they do have a choice. Vaccination is a condition of employment in the

  healthcare field; the State is not forcibly vaccinating healthcare workers. As in Phillips,

  the instant “challenge to the mandatory vaccination regime is therefore no more

  compelling than Jacobson’s was more than a century ago.” 775 F.3d at 542. Cf. Klaassen

  v. Trs. of Indiana Univ., 7 F.4th 592, 593 (7th Cir. 2021) (“[S]uch [a substantive due

  process] argument depends on the existence of a fundamental right ingrained in the

  American legal tradition. Yet Jacobson, which sustained a criminal conviction for

  refusing to be vaccinated, shows that plaintiffs lack such a right.”).

         Accordingly, the WTP Plaintiffs have not established that they are likely to

  succeed on the merits of their Fourteenth Amendment claim.


  IV.    Irreparable Harm, the Public Interest, and the Balance of Equities

         Plaintiffs are not entitled to a preliminary injunction because they cannot, on the

  present record, show a likelihood of success on the merits. We nonetheless briefly

  address the remaining preliminary injunction requirements: “irreparable harm absent



  35Plaintiffs’ reliance on Roe v. Wade, 410 U.S. 113 (1973), Planned Parenthood v. Casey, 505 U.S. 833
  (1992), and Lawrence v. Texas, 539 U.S. 558 (2003), also fails to persuade. These cases do not
  establish a broad fundamental privacy right for all medical decisions made by an individual—
  and particularly not for a decision with such broad community consequences as declining
  vaccination against a highly contagious disease while working in contact with vulnerable
  people at healthcare facilities. This Court cannot find an overriding privacy right when doing so
  would conflict with Jacobson. Although in 1905, when it was decided, Jacobson might have been
  read more narrowly, for over 100 years it has stood firmly for the proposition that the urgent
  public health needs of the community can outweigh the rights of an individual to refuse
  vaccination. Jacobson remains binding precedent.



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  injunctive relief”; the “public interest weighing in favor of granting the injunction”; and

  “the balance of equities tip[ping] in [the movant’s] favor,” Yang, 960 F.3d at 127, and

  determine that Plaintiffs have not successfully met them.

         A.     Irreparable Harm

         The law recognizes the harm that necessarily results when the State

  unconstitutionally burdens religious exercise. “Religious adherents are not required to

  establish irreparable harm independent of showing a Free Exercise Clause violation

  because a presumption of irreparable injury flows from a violation of constitutional

  rights.” Agudath Israel, 983 F.3d at 636 (internal quotation marks and alteration omitted);

  see also Bery v. City of New York, 97 F.3d 689, 693 (2d Cir. 1996) (“Violations of First

  Amendment rights are commonly considered irreparable injuries for the purposes of a

  preliminary injunction.”). Although Plaintiffs are subject to meaningful burdens on

  their religious practice if they choose to obtain the COVID-19 vaccine, because they

  have failed to demonstrate a likelihood of success on their First Amendment or other

  constitutional claims, their asserted harm is not of a constitutional dimension. Thus,

  Plaintiffs fail to meet the irreparable harm element simply by alleging an impairment of

  their Free Exercise right.

         Plaintiffs also contend that they face imminent irreparable harm from loss of

  employment and professional standing if they refuse the COVID-19 vaccine on religious

  grounds. We acknowledge that Plaintiffs may possibly suffer significant employment

  consequences if they refuse on religious grounds to be vaccinated. It is well settled,

  however, that adverse employment consequences are not the type of harm that usually

  warrants injunctive relief because economic harm resulting from employment actions is

  typically compensable with money damages. See Sampson v. Murray, 415 U.S. 61, 91–92

  (1974) (“[L]oss of income and . . . the claim that her reputation would be damaged . . .

  falls far short of the type of irreparable injury which is a necessary predicate to the



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  issuance of a temporary injunction[.]”); Savage v. Gorski, 850 F.2d 64, 68 (2d Cir. 1988)

  (“Since reinstatement and money damages could make appellees whole for any loss

  suffered during this period, their injury is plainly reparable and appellees have not

  demonstrated the type of harm entitling them to injunctive relief.”). Because Plaintiffs’

  economic harms under Title VII could be remedied with money damages, and

  reinstatement is a possible remedy as well, we conclude that Plaintiffs have failed to

  demonstrate that they will suffer irreparable harm absent injunctive relief.

         We pause to recognize, should the issue remain on remand, that this case raises

  difficult, apparently unusual questions as to imminent irreparable harm. Perhaps, if

  they prevail at the conclusion of this litigation, Plaintiffs would seek lost wages, but it is

  not at all clear who would pay them. To the extent Plaintiffs allege that they will suffer

  adverse employment consequences or loss of professional standing if not provided

  accommodations under Title VII, Plaintiffs might seek money damages from their

  employers. Private medical-provider employers might make a persuasive argument

  that they should not have to pay because they were in effect compelled by law to

  terminate the employment. Absent a waiver, however, sovereign immunity would

  likely prevent Plaintiffs from obtaining money damages from the State. See Virginia

  Office for Prot. & Advocacy v. Stewart, 563 U.S. 247, 254 (2011).

         We emphasize, however, that we do not place any weight on the issue of

  remediation of Plaintiffs’ financial losses at this preliminary injunction stage. The

  district courts can consider the issue, should it be necessary to do so, upon a

  determination of the permanent injunction request, presumably upon further factual

  development and findings.




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         B.     Public Interest and Balance of Equities

         Plaintiffs have also failed to demonstrate that the public interest weighs in favor

  of enjoining enforcement of Section 2.61. When the government is a party to the suit,

  our inquiries into the public interest and the balance of the equities merge. See New York

  v. United States Dep’t of Homeland Sec., 969 F.3d 42, 58–59 (2d Cir. 2020). Here, the State

  has an indisputably compelling interest in ensuring that the employees who care for

  hospital patients, nursing home residents, and other medically vulnerable people in its

  healthcare facilities are vaccinated against COVID-19, not just to protect them and those

  with whom they come into contact from infection, but also to prevent an overburdening

  of the healthcare system. Although Plaintiffs undoubtedly face a difficult choice if their

  employers deny religious accommodations—whether to be vaccinated despite their

  religious beliefs or whether to risk termination of their jobs—such hardships are

  outweighed by the State’s interest in maintaining the safety within healthcare facilities

  during the pandemic.

         Plaintiffs assert that the State “will suffer no harm as the New York healthcare

  system has operated for the last year without interruption or catastrophe” without

  requiring vaccination for healthcare workers. WTP Appellants’ Br. at 11. Defining the

  relevant time frame in this way notably omits the first wave of the pandemic, during

  which New York hospitals were in crisis, with frontline nurses and physicians

  reportedly experiencing some of the highest rates of infection and death; New York City

  nursing homes experienced such a high number of deaths that their morgue capacity

  was exceeded. See Br. for Amicus Curiae Greater New York Hospital Association

  (“GNYHA Amicus Br.”) at 3 (citing Miriam Mutambudzi et al., Occupation and Risk of

  Severe COVID-19: Prospective Cohort Study of 120 075 UK Biobank Participants, 78

  Occupational & Envt’l Med. 307, 311 (2021)); New York State Office of the Attorney




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  General, Nursing Home Response to COVID-19 Pandemic 12 (Jan. 30, 2021),

  https://ag.ny.gov/sites/default/files/2021-nursinghomesreport.pdf.

         But even within the past year, healthcare facilities in the State have been under

  strain. According to amicus Greater New York Hospital Association, not only has

  transmission of the virus continued in hospitals even with the use of personal protective

  equipment, testing, and other measures, see GNYHA Amicus Br. at 9, 12–14, but hospital

  workers have also experienced a “parallel pandemic” of burnout, anxiety, depression,

  and other mental health issues, id. at 16. Researchers have found that this phenomenon

  stems from “a perceived lack of control, treatment of other healthcare workers for

  COVID-19, and uncertainty about colleagues’ infection status,” and it has been

  accompanied by increased rates of resignation and retirement as well as incidents of

  self-harm. Id. at 16–17 (citing Ari Schechter et al., Psychological Distress, Coping Behaviors,

  and Preferences for Support among New York Healthcare Workers During the COVID-19

  Pandemic, 66 Gen. Hosp. Psychiatry 1, 3 (2020), https://www.ncbi.nlm.nih.gov/pmc/

  articles/PMC7297159, and Wendy Dean, Suicides of Two Health Care Workers Hint at the

  COVID-19 Mental Health Crisis to Come, STAT News (Apr. 30, 2020),

  https://www.statnews.com/2020/04/30/suicides-two-health-care-workers-hint-at-covid-

  19-mental-health-crisis-to-come), 19 (citing Bridget Balch, “Worst Surge We’ve Seen”:

  Some Hospitals in Delta Hot Spots Close to Breaking Point, AAMC (Aug. 24, 2021),

  https://www.aamc.org/news-insights/worst-surge-we-ve-seen-some-hospitals-delta-

  hot-spots-close-breaking-point).

         Therefore, Plaintiffs have not demonstrated that “the balance of equities tips in

  [their] favor.” Yang, 960 F.3d at 127. Because Section 2.61 furthers the State’s compelling

  interest and Plaintiffs have not shown a likelihood of demonstrating that their

  constitutional rights are violated by the Rule, they have also failed to show that a

  preliminary injunction preventing the Rule’s implementation serves the public interest.



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  Whether this issue will ultimately carry any weight when the district courts decide

  Plaintiffs’ entitlement to a permanent injunction on remand, we need not and do not

  decide.


                                      CONCLUSION

        For the foregoing reasons, the order of the United States District Court for the

  Eastern District of New York is AFFIRMED. The order of the United States District

  Court for the Northern District of New York is REVERSED, and the preliminary

  injunction entered by that court is VACATED. These tandem cases are REMANDED to

  their respective district courts for further proceedings consistent with the Order entered

  on October 29, 2021, and this Opinion.




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                                          APPENDIX

           Section 2.61. Prevention of COVID-19 transmission by covered entities


                          <Emergency action effective Aug. 26, 2021>



  (a) Definitions.


         (1) Covered entities for the purposes of this section, shall include:


            (i) any facility or institution included in the definition of “hospital” in section
            2801 of the Public Health Law, including but not limited to general hospitals,
            nursing homes, and diagnostic and treatment centers;


            (ii) any agency established pursuant to Article 36 of the Public Health Law,
            including but not limited to certified home health agencies, long term home
            health care programs, acquired immune deficiency syndrome (AIDS) home
            care programs, licensed home care service agencies, and limited licensed home
            care service agencies;


            (iii) hospices as defined in section 4002 of the Public Health Law; and


            (iv) adult care facility under the Department’s regulatory authority, as set forth
            in Article 7 of the Social Services Law.


         (2) Personnel, for the purposes of this section, shall mean all persons employed or
         affiliated with a covered entity, whether paid or unpaid, including but not limited
         to employees, members of the medical and nursing staff, contract staff, students,
         and volunteers, who engage in activities such that if they were infected with
         COVID-19, they could potentially expose other covered personnel, patients or
         residents to the disease.




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         (3) Fully vaccinated, for the purposes of this section, shall be determined by the
         Department      in   accordance      with    applicable   federal   guidelines   and
         recommendations. Unless otherwise specified by the Department, documentation
         of vaccination must include the manufacturer, lot number(s), date(s) of
         vaccination; and vaccinator or vaccine clinic site, in one of the following formats:


             (i) record prepared and signed by the licensed health practitioner who
             administered the vaccine, which may include a CDC COVID-19 vaccine card;


             (ii) an official record from one of the following, which may be accepted as
             documentation of immunization without a health practitioner’s signature: a
             foreign nation, NYS Countermeasure Data Management System (CDMS), the
             NYS Immunization Information System (NYSIIS), City Immunization Registry
             (CIR), a Department-recognized immunization registry of another state, or an
             electronic health record system; or


             (iii) any other documentation determined acceptable by the Department.


  (c) [FN1] Covered entities shall continuously require personnel to be fully vaccinated
  against COVID-19, with the first dose for current personnel received by September 27,
  2021 for general hospitals and nursing homes, and by October 7, 2021 for all other covered
  entities absent receipt of an exemption as allowed below. Documentation of such
  vaccination shall be made in personnel records or other appropriate records in
  accordance with applicable privacy laws, except as set forth in subdivision (d) of this
  section.


  (d) Exemptions. Personnel shall be exempt from the COVID-19 vaccination requirements
  set forth in subdivision (c) of this section as follows:


         (1) Medical exemption. If any licensed physician or certified nurse practitioner
         certifies that immunization with COVID-19 vaccine is detrimental to the health of
         member of a covered entity’s personnel, based upon a pre-existing health
         condition, the requirements of this section relating to COVID-19 immunization
         shall be inapplicable only until such immunization is found no longer to be



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        detrimental to such personnel member’s health. The nature and duration of the
        medical exemption must be stated in the personnel employment medical record,
        or other appropriate record, and must be in accordance with generally accepted
        medical standards, (see, for example, the recommendations of the Advisory
        Committee on Immunization Practices of the U.S. Department of Health and
        Human Services), and any reasonable accommodation may be granted and must
        likewise be documented in such record. Covered entities shall document medical
        exemptions in personnel records or other appropriate records in accordance with
        applicable privacy laws by: (1) September 27, 2021 for general hospitals and
        nursing homes; and (ii) October 7, 2021 for all other covered entities. For all
        covered entities, documentation must occur continuously, as needed, following
        the initial dates for compliance specified herein, including documentation of any
        reasonable accommodation therefor.


  (e) Upon the request of the Department, covered entities must report and submit
  documentation, in a manner and format determined by the Department, for the
  following:


        (1) the number and percentage of personnel that have been vaccinated against
        COVID-19;


        (2) the number and percentage of personnel for which medical exemptions have
        been granted;


        (3) the total number of covered personnel.


  (f) Covered entities shall develop and implement a policy and procedure to ensure
  compliance with the provisions of this section and submit such documents to the
  Department upon request.


  (g) The Department may require all personnel, whether vaccinated or unvaccinated, to
  wear an appropriate face covering for the setting in which such personnel are working in
  a covered entity. Covered entities shall supply face coverings required by this section at
  no cost to personnel.



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  Credits
  Emergency rulemaking eff. Aug. 26, 2021, expires Nov. 23, 2021.
  [FN1]
  So in original.


  Current with amendments included in the New York State Register, Volume XLIII, Issue
  40 dated October 6, 2021. Some sections may be more current, see credits for details.


  N.Y. Comp. Codes R. & Regs. tit. 10, § 2.61, 10 NY ADC 2.61




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  21-2179; 21-2566
  We The Patriots USA, Inc. v. Hochul; Dr. A. v. Hochul



                                                   In the
                        United States Court of Appeals
                                     For the Second Circuit
                                              ______________

                                             August Term, 2021

                 (Argued: October 27, 2021                Decided: November 12, 2021)

                                             Docket No. 21-2179
                                              ______________

                 WE THE PATRIOTS USA, INC., DIANE BONO, MICHELLE MELENDEZ,
                                  MICHELLE SYNAKOWSKI,

                                                                       Plaintiffs-Appellants,

                                                      –v.–

                            KATHLEEN HOCHUL, HOWARD A. ZUCKER, M.D.,

                                                                       Defendants-Appellees.
                                      ___________________________

                                             Docket No. 21-2566
                                              ______________

                  DR. A., NURSE A., DR. C., NURSE D., DR. F., DR. G., THERAPIST I.,
            DR. J., NURSE J., DR. M., NURSE N., DR. O., DR. P., TECHNOLOGIST P., DR. S.,
                                  NURSE S., PHYSICIAN LIAISON X.,

                                                                       Plaintiffs-Appellees,

                                                      –v.–

            KATHY HOCHUL, GOVERNOR OF THE STATE OF NEW YORK, IN HER OFFICIAL
           CAPACITY, DR. HOWARD A. ZUCKER, COMMISSIONER OF THE NEW YORK STATE
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            DEPARTMENT OF HEALTH, IN HIS OFFICIAL CAPACITY, LETITIA JAMES,
         ATTORNEY GENERAL OF THE STATE OF NEW YORK, IN HER OFFICIAL CAPACITY,

                                                                Defendants-Appellants.

  B e f o r e:

                       WALKER, SACK, and CARNEY, Circuit Judges.

                                     ______________

                           CAMERON L. ATKINSON (Norman A. Pattis, Earl A. Voss, on
                                the brief), Pattis & Smith, LLC, New Haven, CT, for
                                Plaintiffs-Appellants We The Patriots USA, Inc. et al. (in
                                No. 21-2179).

                           STEVEN C. WU, Deputy Solicitor General (Barbara D.
                                 Underwood, Mark S. Grube, on the brief) for Letitia
                                 James, Attorney General for the State of New York,
                                 New York, NY, for Defendants-Appellants (in No. 21-
                                 2566) and Defendants-Appellees (in No. 21-2179) Kathleen
                                 Hochul et al.

                           CHRISTOPHER A. FERRARA (Michael McHale, Stephen M.
                                 Crampton, on the brief), Thomas More Society,
                                 Chicago, IL, for Plaintiffs-Appellees Dr. A. et al. (in No.
                                 21-2566).

                           Alex J. Luchenister, Richard B. Katskee, Americans United
                                  for Separation of Church and State, Washington, D.C.;
                                  Daniel Mach, Heather L. Weaver, Lindsey Kaley,
                                  American Civil Liberties Union Foundation,
                                  Washington, D.C. & New York, NY; Christopher
                                  Dunn, Beth Haroules, Arthur Eisenberg, Amy Belsher,
                                  New York Civil Liberties Union Foundation, New
                                  York, NY, for Amici Curiae (in No. 21-2179) Americans
                                  United for Separation of Church and State, American Civil
                                  Liberties Union, New York Civil Liberties Union, Central
                                  Conference of American Rabbis, Global Justice Institute,



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                                     Metropolitan Community Churches, Men of Reform
                                     Judaism, Methodist Federation for Social Action, Muslim
                                     Advocates, National Council of Jewish Women,
                                     Reconstructionist Rabbinical Association, Union for
                                     Reform Judaism, and Women of Reform Judaism.

                              Mark D. Harris, Shiloh Rainwater, Proskauer Rose LLP, New
                                   York, NY, for Amicus Curiae (in No. 21-2179) Greater
                                   New York Hospital Association.
                                      ______________

  PER CURIAM:

         We write to clarify our opinion in We The Patriots USA, Inc. v. Hochul, No. 21-

  2179, and Dr. A. v. Hochul, No. 21-2566, which we heard and decided in tandem. 2021

  WL 5121983 (2d Cir. Nov. 4, 2021). We do so in light of the text of the recent order of the

  district court in Dr. A. v. Hochul, vacating the preliminary injunction at issue. No. 1:21-

  CV-1009 (N.D.N.Y. Nov. 5, 2021). The district court there wrote that the Dr. A. Plaintiffs

  “no longer need” a preliminary injunction because Section 2.61 “does not prevent

  employees from seeking a religious accommodation allowing them to continue working

  consistent with the Rule, while avoiding the vaccination requirement.” Id. (quoting We

  the Patriots USA, Inc., 2021 WL 5121983, at *17).

         A reader might erroneously conclude from this text that, consistent with our

  opinion, employers may grant religious accommodations that allow employees to

  continue working, unvaccinated, at positions in which they “engage in activities such

  that if they were infected with COVID-19, they could potentially expose other covered

  personnel, patients or residents to the disease.” 10 N.Y.C.R.R. § 2.61 (definition of

  “personnel”). In our opinion, however, we stated that “Section 2.61, on its face, does not

  bar an employer from providing an employee with a reasonable accommodation that

  removes the individual from the scope of the Rule.” 2021 WL 5121983, at *17 (emphasis

  added). In other words, it may be possible under the Rule for an employer to



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  accommodate—not exempt—employees with religious objections, by employing them in a

  manner that removes them from the Rule’s definition of “personnel.” Id. Such an

  accommodation would have the effect under the Rule of permitting such employees to

  remain unvaccinated while employed.

         Of course, Title VII does not obligate an employer to grant an accommodation

  that would cause “undue hardship on the conduct of the employer’s business.” See 42

  U.S.C. § 2000e(j). And, as we also observed in our opinion, “Contrary to the Dr. A.

  Plaintiffs’ interpretation of the statute, Title VII does not require covered entities to

  provide the accommodation that Plaintiffs prefer—in this case, a blanket religious

  exemption allowing them to continue working at their current positions unvaccinated.”

  2021 WL 5121983, at *17. To repeat: if a medically eligible employee’s work assignments

  mean that she qualifies as “personnel,” she is covered by the Rule and her employer

  must “continuously require” that she is vaccinated against COVID-19. 10 N.Y.C.R.R.

  § 2.61. As we observed, this requirement runs closely parallel to the longstanding New

  York State requirements, subject to no religious exemption, that medically eligible

  healthcare employees be vaccinated against rubella and measles. 2021 WL 5121983, at

  *13.

         The preliminary injunction entered by the district court in Dr. A. v. Hochul on

  October 12, 2021, has been vacated. See We The Patriots USA, Inc. v. Hochul, No. 21-2179,

  and Dr. A. v. Hochul, No. 21-2566, 2021 WL 5103443, at *1 (2d Cir. Oct. 29, 2021). New

  York State’s emergency rule requiring that healthcare facilities “continuously require”

  that certain medically eligible employees—those covered by the Rule’s definition of

  “personnel”—are vaccinated against COVID-19, is currently in effect. 10 N.Y.C.R.R.

  § 2.61. We caution further that our opinion addressed only the likelihood of success on

  the merits of Plaintiffs’ claims; it did not provide our court’s definitive determination of

  the merits of those claims.




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        In the interest of judicial economy, we direct the Clerk of Court to refer any

  further proceedings in these two matters to this panel.




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                        UNITED STATES COURT OF APPEALS
                            FOR THE SECOND CIRCUIT
           At a Stated Term of the United States Court of Appeals for the Second Circuit, held at
   the Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York,
   on the 29th day of October, two thousand twenty-one.

   Before:        John M. Walker, Jr.,
                  Robert D. Sack,
                  Susan L. Carney,
                         Circuit Judges.


    We The Patriots USA, Inc., Diane Bono, Michelle
    Melendez, Michelle Synakowski,
                                                                             ORDER
                 Plaintiffs-Appellants,

                          v.                                                 No. 21-2179

    Kathleen Hochul, Howard A. Zucker, M.D.,

                 Defendants-Appellees.



    Dr. A., Nurse A., Dr. C., Nurse D., Dr. F., Dr. G.,
    Therapist I., Dr. J., Nurse J., Dr. M., Nurse N., Dr. O., Dr.
    P., Technologist P., Dr. S., Nurse S., Physician Liaison X.,

                 Plaintiffs-Appellees,

                          v.
                                                                             No. 21-2566
   Kathy Hochul, Governor of the State of New York, in her
   official capacity, Dr. Howard A. Zucker, Commissioner of the
   New York State Department of Health, in his official
   capacity, Letitia James, Attorney General of the State of New
   York, in her official capacity,

                 Defendants-Appellants.
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           In No. 21-2179, Plaintiffs We The Patriots USA, Inc. et al., appeal from an order of
   the United States District Court for the Eastern District of New York denying their motion
   for a preliminarily injunction enjoining the State from enforcing N.Y. Comp. Codes R. &
   Regs. tit. 10, § 2.61 (August 26, 2021). Upon due consideration, it is hereby ORDERED,
   ADJUDGED, and DECREED that this Court’s September 30, 2021 order granting a
   temporary injunction pending appeal is VACATED, the district court’s order denying the
   motion for a preliminary injunction is AFFIRMED, and the case is REMANDED for
   further proceedings consistent with this Order and the forthcoming opinion of this Court.

          In No. 21-2566, the State of New York appeals from an order of the United States
   District Court for the Northern District of New York enjoining the State from enforcing
   N.Y. Comp. Codes R. & Regs. tit. 10, § 2.61 (August 26, 2021). Upon due consideration, it
   is hereby ORDERED, ADJUDGED, and DECREED that the district court’s order is
   VACATED and the case is REMANDED for further proceedings consistent with this
   Order and the forthcoming opinion of this Court.

         The mandate shall issue forthwith for the limited purpose of vacating the injunction
  issued by the District Court for the Northern District of New York. An opinion in both No.
  21-2179 and No. 21-2566 will follow expeditiously.

                                                      For the Court:
                                                      Catherine O’Hagan Wolfe, Clerk of Court
